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· · THOMAS DEXTER JAKES

· · v.

· · DUANE YOUNGBLOOD

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· · · · · · · · · · · · · · ·VIDEO RECORDING

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· · · · · · · FILE NAME:· · ·Larry Reid Live YouTube Video

· · · · · · · DATE TAKEN:· · November 3, 2024

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· · Transcribed By:· Sarah Albaladejo

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·1· · · · · · MS. WATERS:· Even though he has not always been

·2· protected, he's always been a protector.

·3· · · · · · MR. REID:· Broken people saw that sigma and done what

·4· they thought they needed to do to the request that I was making.

·5· And they just chose improperly.

·6· · · · · · MR. T. REID:· He never told me nothing.· I knew

·7· nothing about it.

·8· · · · · · MS. PARKS:· I feel like everyone in my family in some

·9· form or way has been fondled or molested or raped in some form

10· of fashion.

11· · · · · · MR. REID:· I couldn't understand how God was in me

12· because I was that.

13· · · · · · MR. BRYANT:· There was tolerated versus celebrated.

14· · · · · · MS. HUCKS:· It's a wrong way and right way to do

15· everything.· And Larry always seemed to choose the wrong way.

16· · · · · · MR. REID:· Yes, I was drugged and raped.· That

17· happened when I was 17 years old.· Misfits have an ability to

18· stick out.· But if the misfit accept that they absolutely cannot

19· fit in, then they become someone with the next --

20· · · · · · UNIDENTIFIED SPEAKER:· Multimedia personality, comedic

21· commentator, songwriter, recording artist, spiritual leader,

22· author and actor, Larry D. Reid is the founder of The MBN

23· Network, owner of LDR Enterprises based out of Atlanta, Georgia

24· and the spiritual leader of the Reformation Church of Atlanta.

25· You can catch Larry Reid on the BET Plus original series Kingdom


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·1· Business and on American Gangster Trap Queens streaming online

·2· at bet.plus.

·3· · · · · · The MBN Network is a nonprofit organization based in

·4· Atlanta, Georgia.· We are a streaming radio and ministry network

·5· funded by a network of partners that are professionals,

·6· technicians, entrepreneurs and entertainers from around the

·7· world.

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·6· download the patreon app and turn on your notifications.· Get

·7· connected today.

·8· · · · · · (YouTube ads played.)

·9· · · · · · (Larry Reid Live Show Intro.)

10· · · · · · MR. REID:· All right.· Today's date is November the

11· 3rd of 2024.· And you guys on Tuesday.· We're going to have to

12· make a decision about who we want to be our president.

13· · · · · · How many of you let me know in the chat if you've

14· already voted?· I've already cast my vote and I told you guys

15· that my vote was for Kamala.· And the reason why is, that she

16· lie less than Donald Trump.· She don't tell as many lies.· But

17· she's definitely doing the political thing, you know, that --

18· that requires some -- a little bit of lying and polishing and

19· decorating the things.

20· · · · · · And she's a woman.· I think it's time for a female

21· president.· We already had a Black person in the presidency.· So

22· the Black aspect.· And at the top of my list, it is more so that

23· I just think that she's more qualified and I also think that

24· she's smarter and got the right smart parts for the presidency.

25· And that's what I've done.


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·1· · · · · · What do you do if you don't mind saying it in the chat

·2· or in the -- or in the comments section who you voted for?· Oh,

·3· a lot of you have already voted.· That is great, great, great,

·4· great, great.

·5· · · · · · Okay.· So the conversation that we're going to be

·6· having tonight is a continuation of the conversation that we had

·7· almost, is it five or six days ago?· How many days ago we had --

·8· it was on the 28th of October.· So however long that was.· And

·9· since we have had that conversation publicly, there's a lot of

10· things that has transpired.

11· · · · · · And I want to tell you what those things are.· And

12· then, I also want to ask him some questions as it relates to

13· that era.· Because prior to meeting him, you guys know that I

14· have had several discussions about Texas.· And I told you guys

15· in 2018 that it's all coming out of Texas.· And I will go ahead

16· and repeat what I've said before.· Patreons know this.

17· · · · · · In that time, I was very vocal in patreon saying that

18· when I say everything's coming out of Texas, I'm speaking to a

19· few things.· One of the things is the mega pastors in the State

20· of Texas and now we see it in this year, have all had somewhat

21· of the same kind of situations.· And we do not have any proof as

22· far as video or doctor's report from kits and things of that

23· nature.· But some of these pastors have been found by their own

24· admission, been inappropriate, improper and way less than

25· perfect.· And we already know that anyway, I -- although some of


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·1· us like to live in a fantasy world and feel like that these men

·2· and women that are in the pool pit and are prophets and have

·3· these amazing gifts and talent and very, you know, they're

·4· wonderful at what they do.· I think sometimes we forget these

·5· are whole entire people, just like me and you.

·6· · · · · · And they have a past and they have the glory that is

·7· on their life, but then also the gore that is in their life, the

·8· godly and the ungodly story.· The great, wonderful things about

·9· them.· And then the not so great things about them.· And then

10· they mess around and end up in the influential position.· And if

11· they're very successful at what they do and great at it, then

12· they end up with memes and position and power and then all this

13· ugly stuff, underdeveloped stuff, unaddressed stuff, stuff that

14· hasn't been healed and dealt with comes up.· And a lot of times

15· we end up seeing these bad behaviors and horrible character

16· traits manifest in their ministries.

17· · · · · · And man, we have discussed that here 159,000 times.

18· But one thing that we have never had on this platform, and I

19· can't say that I've seen it anywhere, else except for many years

20· ago.· I was a faithful Oprah Winfrey Show watcher and I

21· remember her having a killer and interviewing him.· And I was so

22· mesmerized.· And if I just keep it honest, we are used to the

23· victim story.· We're used to the victim story.· And the reality

24· is, unbeknownst to us, a whole lot of people that were not

25· victims, they masquerade as victims and we believe because we


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·1· were a real victim and we're listening to their lying victim

·2· story through our lens that is real.· And we believe what we

·3· believe.

·4· · · · · · Some of us we believe the victims.· Some of us have

·5· seen victims that lie and they ain't even really victims,

·6· they're accuses.· And we don't believe them.· I think every case

·7· in every situation we should look at isolated from our own pain,

·8· our own biases and experiences and just listen detached from our

·9· own experience and get involved in the conversation for what

10· it's worth.

11· · · · · · We don't need to know, at this point, I can speak for

12· myself, it's not a matter of if it is true or not for me at this

13· point.· Because the conversation is much broader.· Now, I do

14· know some things and I have seen some receipts and done some

15· cross examinations.· And I do feel like the majority of this is

16· true.· But I don't have no -- no proof, meaning that I am not

17· Duane Youngblood.· I am not the other people that has accused

18· other leaders of certain things.· We won't -- see nobody to do

19· nothing.

20· · · · · · But as much as possible, I verified and I know it's

21· true.· But the conversation for me ain't about whether it's true

22· and whether Duane is sorry for violating people that -- that

23· ain't a conversation because that just -- that's like an endless

24· conversation.

25· · · · · · The conversation that I'm most interested in is, what


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·1· I titled the Dern Show.· It's like people don't even pay that no

·2· attention.· Is an abused person.· We left out something.            A

·3· groomed and abused.· Now, had I known all the details of the

·4· story, I would have put that on the flyer.· A groomed and abused

·5· person who then groomed and abused.

·6· · · · · · (YouTube ads played.)

·7· · · · · · MR. REID:· I don't know about you, but I haven't been

·8· able to have a real honest conversation with someone about that.

·9· And definitely not on this platform.· And this is the privilege

10· that we get.· It's a privilege.· I do want to say for those of

11· you that are still working through some stuff and star those

12· question Kim as they come in.· And we're going to answer your

13· questions if you put them in the chat, but be respectful.

14· · · · · · The conversation is so elevated right now.· And I like

15· this -- this conversation about getting into the mind of someone

16· who has went from groomed, abused, groom, abuser.· It's

17· interesting to me.· It's sad, shocking.· It makes me feel heavy.

18· And that probably is from some of the other stories that I've

19· heard and I know about and my own personal secrets that I've

20· carried about my own abuse that I don't think would do me any

21· good to share publicly.

22· · · · · · But it's making me remember when I was in that area

23· of -- of my life when I was sharing telling my mom and my daddy

24· and my sisters and cousins and having those conversations.· I've

25· already had those conversations.· And I've done a lot of that


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·1· work.· Because let me tell you all something.· When you are

·2· sharing and expressing what it is that you have went through or

·3· done, there is a feeling of relief because you're able to be

·4· honest and tell the truth.· That's -- that's true.

·5· · · · · · But, and I could be wrong, but I'm just saying what I

·6· think and from my experience.· When I was telling all of that

·7· stuff, it felt good.· I was finally being hurt.· But ultimately,

·8· when my head hit that pillow, a few days later or weeks later or

·9· the next month, I was still dealing with the same thing that I

10· was dealing with before I even told it.· So I started to be

11· like, how much do I benefit from just continually -- continually

12· telling this story over and over?· And it didn't contribute to

13· my healing.

14· · · · · · So -- and maybe that's personal for me.· So then I

15· just moved away from that worked on the healing part, then I

16· done my documentary.· And the documentary for me was focusing on

17· what mattered and not who did me wrong and all of what they did.

18· · · · · · When I listened to Duane Youngblood, and he's already

19· in the green room, we're about to get started.· Go ahead and hit

20· like.· This is your moment to get your drink, get your chips and

21· everything.· But now that I've done the -- the healing work,

22· I'm -- I tell my story, but I tell it differently like I did in

23· my documentary.· And my -- a shout out to my siblings, my niece,

24· my cousins, friends that all were in the documentary and really

25· shared.


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·1· · · · · · I -- I hope that this conversation that we are having,

·2· that you guys do not lower it so low and this become salacious

·3· content on the internet.· I know about these other bloggers and

·4· platforms and their job is to deal with the salacious.· I'm not

·5· going to make it wrong or right.· It's just ain't what I do.

·6· And I want us to have a conversation.· I want you all to ask

·7· questions.· I want us -- to everybody to -- to leave the

·8· conversation clear and thinking.

·9· · · · · · All right.· So you all ready now?· All right.· Let's

10· go ahead and bring in Duane Youngblood.

11· · · · · · How are you.

12· · · · · · MR. YOUNGBLOOD:· Excellent.

13· · · · · · MR. REID:· All right.· Great.· Now we already know who

14· you are, so we can get right into the conversation.

15· · · · · · I actually have some questions and some statements I

16· want to ask you.· And then I see some coming in the chat.· You

17· got three more minutes to put your questions in the chat that

18· you have for Duane Youngblood and myself.

19· · · · · · All right.· So since the interview, the -- really the

20· conversation that we just had on camera, how have you felt?

21· · · · · · MR. YOUNGBLOOD:· It has been an extremely interesting

22· week.· Most nights, I have not slept through the night.· I've

23· had feelings at times of anxious.· I've had times where happy,

24· frustrated, lighter.· There's been a lot of a mix of things

25· because it became much bigger than what my mind had even


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·1· conceived it could be when I was having the conversation.

·2· · · · · · In addition to that, there are people in my history

·3· that I'm very much concerned about, people in my life that I'm

·4· very concerned about.· My family, across the board, I've gotten

·5· so much great support from them this week.· And it's just been

·6· in that side of it been extremely well.· There are people in my

·7· family that I have not had the privilege of being able to fully

·8· discuss these things.· So some of this is new.

·9· · · · · · One of the things that I realized this week, if never

10· before, was the grace on my life.

11· · · · · · (YouTube ads played.)

12· · · · · · MR. YOUNGBLOOD:· When you go through the types of

13· things that I was sharing from nine years of age forward and you

14· survive them.· And then not only survive, but you are able to

15· live to come to the day where you say, I want to see if I can do

16· something that's going to be beneficial for somebody else.· It's

17· an awesome opportunity to get there.· And I'm excited because

18· I've gotten to that place in this journey.· Is everything

19· totally the way I wish it was?· Not at all.· But I tell you this

20· much, it is in an excellent place.· And I'm moving forward with

21· everything that pertains to what I believe to be my purpose at

22· this stage in my life.· And I'm excited about it.· But it's been

23· a very interesting week because it's a new experience.

24· · · · · · MR. REID:· New experience for you.· When you say the

25· grace that is on your life, I think that's preacher talk.· So


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·1· break it down.

·2· · · · · · MR. YOUNGBLOOD:· Yeah, I'll break it down.

·3· · · · · · MR. REID:· Yeah.

·4· · · · · · MR. YOUNGBLOOD:· I believe wholeheartedly that each

·5· one of us has something unique and definitive to do that is

·6· attached to our DNA, our family.· To go through what I've gone

·7· through.· I've talked to a lot of people who just the -- they

·8· were not able to come to the place that I've been able to come

·9· where I could sit and have a conversation like this.· And so, I

10· believe that is credited to God.· I don't credit --

11· · · · · · MR. REID:· Got you.

12· · · · · · MR. YOUNGBLOOD:· -- my ability to sit here to myself

13· because I'm just a human.· I'm just a man.· I've got feelings

14· and emotions.· I chose this week to not watch the videos.· My

15· brother --

16· · · · · · MR. REID:· That's great.· That's great.

17· · · · · · MR. YOUNGBLOOD:· He watched videos and stuff.· And I

18· didn't -- I didn't want to see it.· I didn't want to hear what

19· no one had to say, no one had to share.· I didn't want to be

20· slanted one way or the other.· I knew that I came in here and

21· started a story about my own abuse.· The fact that I abused

22· others, hurt people in my own congregation.· I started there.           I

23· went to talking about my own natural father.· So people may have

24· tried to turn it, twist it, but I started in the most difficult

25· place to start for a human is with yourself.


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·1· · · · · · MR. REID:· And that -- and that -- I'm so glad that

·2· you were a yes to start it like that, because if the

·3· conversation needed to be real and -- and if we're going to be

·4· real, we can't just talk about your abuse.

·5· · · · · · MR. YOUNGBLOOD:· No.

·6· · · · · · MR. REID:· We -- we had to talk about what happened as

·7· a result of your grooming and being abused.· And that needs to

·8· really hit home with everybody because --

·9· · · · · · MR. YOUNGBLOOD:· Yes.

10· · · · · · MR. REID:· -- we don't get to have this conversation.

11· People aren't there honest where they say, you know what, this

12· is what I did.· And you went into detail and you asked

13· questions.· And one thing that I said to you that someone said

14· something to me about me addressing this.· And it was when I --

15· when you explained because you said there was two victims.· And

16· the first one or the second one, you had to correct me, but the

17· mom told you about the diary.

18· · · · · · MR. YOUNGBLOOD:· Correct.· That was the first one.

19· · · · · · MR. REID:· Yeah.· That was same gender loving thoughts

20· and all of that.· You spoke with him.· You sent the secretary

21· home.

22· · · · · · MR. YOUNGBLOOD:· Correct.

23· · · · · · MR. REID:· So there was -- there was some moves and

24· things because you had the information that you spoke with the

25· young guy.· And then when he was like, well, yeah, I -- although


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·1· you trying to talk to me for my mom.· I'm down with the get down

·2· and I wanted to go and explore.· And then you were like, okay,

·3· well -- and I guess you shared that you had the same feeling and

·4· you all went and touched and -- and whatever.

·5· · · · · · That for me --

·6· · · · · · (YouTube ads played.)

·7· · · · · · MR. REID:· It seems manipulative.· What do you say

·8· about that?· Were you consciously manipulating or were you just

·9· in the desire of it and was fixated?

10· · · · · · MR. YOUNGBLOOD:· Oh, in -- in my -- in that time of my

11· life, I -- I think when we talked I used the word auto pilot.

12· · · · · · MR. REID:· How old were you?

13· · · · · · MR. YOUNGBLOOD:· Oh, that was 2002.

14· · · · · · MR. REID:· Okay.

15· · · · · · MR. YOUNGBLOOD:· So that's 22 years ago.· I would have

16· been 35 years old.

17· · · · · · MR. REID:· Got you.

18· · · · · · MR. YOUNGBLOOD:· That's auto pilot.· And on auto

19· pilot, I learned how to get what I wanted, how to get through

20· situations and circumstances.· Listen, I want to be very, very

21· clear.· This person had zero power.· I had all the power.· I was

22· sitting across the desk.· I was in the pastor's position, the

23· pastor's seat.· I had all the power.· That's the reason why I

24· said to the secretary not to be in the office that day.· There

25· is no question it was manipulation.


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·1· · · · · · MR. REID:· Right.

·2· · · · · · MR. YOUNGBLOOD:· Because I'm using whatever I had to

·3· get what I could gain.· And if I allow this to go down the wrong

·4· street, if I take it down the wrong street, if I propose it go

·5· down the wrong street, all of that is through manipulation.· All

·6· of that would be inappropriate to do.

·7· · · · · · MR. REID:· Right.

·8· · · · · · MR. YOUNGBLOOD:· And this is the reason why it ended

·9· up with a charge that ultimately comes down to a sexual assault.

10· · · · · · MR. REID:· Right.

11· · · · · · MR. YOUNGBLOOD:· And --

12· · · · · · MR. REID:· And was it -- was it -- excuse me, was it

13· forced touching or was --

14· · · · · · MR. YOUNGBLOOD:· No.

15· · · · · · MR. REID:· -- this a mutual?

16· · · · · · MR. YOUNGBLOOD:· No, it wasn't forced.· It was -- it

17· was mutual.· There was conversation the whole way through.

18· The -- the reality, though, is that the person was 15 years old.

19· · · · · · MR. REID:· Yeah.

20· · · · · · MR. YOUNGBLOOD:· And there was no way for them to give

21· consent.

22· · · · · · MR. REID:· Right.

23· · · · · · MR. YOUNGBLOOD:· And so, it doesn't matter if it was

24· mutual or whatever, there was no way to give consent.

25· · · · · · MR. REID:· Right.


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·1· · · · · · MR. YOUNGBLOOD:· One of the things that I'm grateful

·2· for is that in my experience in therapy with all of this, the

·3· one thing that I become very, very clear about is the need for

·4· personal responsibility.· There are times in having these

·5· conversations when this stuff is tough --

·6· · · · · · MR. REID:· Yeah.

·7· · · · · · MR. YOUNGBLOOD:· -- but I'm fully aware of my personal

·8· responsibility.· Not just in that scenario, but the whole time I

·9· was a pastor.· Every time I made a decision.· Every time I

10· hired, I fired.· Every time I coordinated, whatever it was I had

11· the position.· I had the responsibility and I took that

12· responsibility.· I take it again even tonight, because, again,

13· the last thing that anybody in my position or capacity should do

14· is use someone's mishap, weakness, issues, challenges against

15· them in a way that takes them further into the rabbit hole that

16· maybe they've been living in trying to get out of, whatever it

17· may be.

18· · · · · · So I was not good at that -- at that stage of my life.

19· I really believe, Larry, that I had been offering -- it -- you

20· know, I was -- I was talking earlier and I likened this to a

21· computer with a virus.· I don't care what you try to do.· The

22· more you use it, the more the virus begins to damage the

23· computer.· And the only way to deal with this stuff is that

24· you've got to have something redone with this hard drive.· It's

25· got to be redone.· It's got to be fixed.· This virus has got to


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·1· be uprooted.· And I believe the reason why I wanted to share the

·2· stories of abuse, as well is because that's how I got hardwired.

·3· There was so many things happening in my childhood and in my

·4· life, that was a part of the hardwiring.· But I made the adult

·5· decisions.· I was the one that committed the crime.· I am fully

·6· responsible for what I did.· And therefore I went -- I went to

·7· prison.· I served time in prison.· I've come home.· I've been in

·8· therapy.· And I am working every single solitary day to make

·9· sure that my last days are so much better for others than what

10· my early days were.

11· · · · · · MR. REID:· I think that anybody that got any good

12· sense would listen to you.· There's so much for us to learn

13· here.· While you're talking, I'm going through my mind of my

14· pastor.· I started pastoring as a -- as a teenager.

15· · · · · · MR. YOUNGBLOOD:· Mm-hmm.

16· · · · · · MR. REID:· So can you imagine --

17· · · · · · MR. YOUNGBLOOD:· Yes.

18· · · · · · MR. REID:· -- the mistakes I could have made.

19· · · · · · MR. YOUNGBLOOD:· Absolutely.

20· · · · · · MR. REID:· But -- and I made them.· I made mistakes.

21· And I was married too, freshly married.· It was just a recipe

22· for disaster.· But I'm so thankful that I was able to help way

23· more than I harmed.· And none of my harm was intentional or

24· thought out or calculate.· I wasn't old enough.· You were 35.           I

25· was not even old enough to -- and developed enough.· And I'm not


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·1· talking about number.· But I'm talking about development and age

·2· to know, you know what, even later on, I said, you all shouldn't

·3· be calling me dad.· You all got your own dads.· Don't call me

·4· that.

·5· · · · · · You know, I didn't -- that -- it's little stuff like

·6· that, that creates a culture that is unsafe.

·7· · · · · · MR. YOUNGBLOOD:· Yeah.

·8· · · · · · MR. REID:· And it's literally a pseudo reality that

·9· you create.· Now, while I believe that the first institution God

10· established was the family, the second was the church.· And in

11· my opinion, the church a lot of times becomes like a foster

12· family.· But that's a foster family.· It's not your family.

13· · · · · · MR. YOUNGBLOOD:· No.

14· · · · · · MR. REID:· And -- and there was some things that we

15· were saying and doing that just, you know, was not good.· And --

16· · · · · · MR. YOUNGBLOOD:· No.

17· · · · · · MR. REID:· -- people weren't going home with their

18· family for Christmas and for Thanksgiving.· I was creating that

19· for them there because most of their families, they mom and dad

20· was on drugs or they was either estranged from their parents for

21· whatever reason.· And the only thing I knew was whatever they

22· told me, you know.· So I'm thinking I'm creating a great

23· community for -- for everyone.· But looking back that there were

24· better ways to do things.

25· · · · · · MR. YOUNGBLOOD:· Yes.


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·1· · · · · · MR. REID:· And however, I am grateful because it could

·2· have been way worse.

·3· · · · · · MR. YOUNGBLOOD:· Absolutely.

·4· · · · · · MR. REID:· Anybody with good sense, whether you own a

·5· business, you're not a pastor, and you're no longer pastoring,

·6· right?

·7· · · · · · MR. YOUNGBLOOD:· No.

·8· · · · · · MR. REID:· And did you say that you're no longer

·9· pastoring because you don't trust yourself to pastor or why is

10· that?

11· · · · · · MR. YOUNGBLOOD:· No.· The reason that I'm not

12· pastoring, first and foremost, I believe that a person with a

13· virus that I was carrying and the actions that I exhibited, the

14· last thing you should do at that point is to pastor people.

15· So --

16· · · · · · MR. REID:· Amen.

17· · · · · · MR. YOUNGBLOOD:· -- I wanted to take the time to work

18· on me -- me, what I needed and that was never going to happen if

19· I needed to continually step up on a stage and try to lead

20· people.

21· · · · · · So I'm --

22· · · · · · MR. REID:· I understand.

23· · · · · · MR. YOUNGBLOOD:· -- taking the time that I need for

24· myself to do the things that I believe are key essential and

25· important for me to do.· And that does not include pastoring a


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·1· church.

·2· · · · · · MR. REID:· Wow.· Do you feel like if you were not

·3· groomed and abused and violated -- now, it was interesting to

·4· me.· Put a pin down, like my baby momma say.

·5· · · · · · You -- in the conversation I don't know if you realize

·6· you're doing this.· You either have done a lot of work.· It got

·7· to be the work because there's no way.· You were telling the

·8· stories about Bishop Wilson, Bishop Jakes, Bishop Watkins.· And

·9· in that, we fell into that you watched your dad be as he was and

10· abuse and violating, heard it, violating your sister for years

11· and then you were raped too.· So it's like -- I'm like -- it's

12· almost like -- and this goes to my question.

13· · · · · · MR. YOUNGBLOOD:· Mm-hmm.

14· · · · · · MR. REID:· Do you feel like if you didn't have all

15· those things that happen to you, that you would have never been

16· groomed and violated somebody?

17· · · · · · MR. YOUNGBLOOD:· Let -- I'm glad that's -- that's a

18· great question.· And I want to answer that question for the

19· people that are watching us tonight or will ever watch this

20· again.· Do not ever think you'll know that answer.· You'll never

21· know that answer.

22· · · · · · And to try and get that answer is to drive yourself

23· almost crazy.· Because one thing that I've learned in the last

24· year is to own my story.· And here's the -- the -- the tough

25· part of owning your story.· You don't get to rewrite it.


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·1· · · · · · MR. REID:· Yeah.

·2· · · · · · MR. YOUNGBLOOD:· And if I'm going to own it, that

·3· means that happened and this is what I did.· Now, I believe that

·4· there are some things that if I had got access to them --

·5· · · · · · MR. REID:· Yeah.

·6· · · · · · MR. YOUNGBLOOD:· -- that stuff may not have come out

·7· of my life.· But what I've learned in therapy is that when you

·8· have parents with negative attributes and you kick them out your

·9· heart --

10· · · · · · MR. REID:· Yeah.

11· · · · · · MR. YOUNGBLOOD:· -- chances are you can no longer

12· identify those attributes in yourself.

13· · · · · · MR. REID:· Absolutely.

14· · · · · · MR. YOUNGBLOOD:· So what was going on with my father

15· may have been in me to some degree, some potential.· It may have

16· been there.· But because I had kicked him out and had taken such

17· a -- a primary role in my family at the time and trying to be

18· protective in all this stuff that I was trying to do out of

19· fear, I was ignoring indicators and signs that there's something

20· going on here that you need to pay attention to.· And I

21· encourage people tonight, pay attention to the signs in your own

22· day-to-day activity.

23· · · · · · You don't have to change nothing about ten years ago.

24· Look at what's going on tonight, tomorrow, next week, last week.

25· Pay attention to yourself.· Get present with yourself.· And


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·1· you'll discover some of the very things you don't like about the

·2· people in your family you have in common with them.· And so, I

·3· don't have to hate my family.· I got to embrace that we're

·4· human.· And that's how I got to the point to where I can say I

·5· love my father.· I'm honored to be his son.· I'm honored to be

·6· Duane Youngblood.· And --

·7· · · · · · MR. REID:· You have to reconcile with that.· You have

·8· to get clear on that.· And release your parents of whatever it

·9· is you're holding over them and whatever you feel like they owe

10· you an apology for.· And I know that's hard to hear.

11· · · · · · MR. YOUNGBLOOD:· Yes.

12· · · · · · MR. REID:· I'm telling you, as someone who had to do

13· that.

14· · · · · · MR. YOUNGBLOOD:· Yes.

15· · · · · · MR. REID:· And that is the be -- it changed my life in

16· 2022.· I am now the man that I always knew I was.· But the pain

17· was deep and I couldn't get it out.· So what happened, my

18· parents showed me an act of love.· Drove to Georgia to see me on

19· my birthday.

20· · · · · · MR. YOUNGBLOOD:· Wow.

21· · · · · · MR. REID:· And they were my surprise guests.· And when

22· I saw them and anybody that know me and my parents, that was

23· a -- a spiritual experience.· They walked up to me.· They -- was

24· as my surprise and we embraced and weeped.

25· · · · · · MR. YOUNGBLOOD:· Wow.


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·1· · · · · · MR. REID:· Our hearts had a conversation that our

·2· mouths and our mind could never have.

·3· · · · · · MR. YOUNGBLOOD:· Wow.

·4· · · · · · MR. REID:· From heart to heart and weeping, I fully --

·5· I thought I had already forgave them, but in that moment, I

·6· realized that I forgave them.· They forgave me because we -- you

·7· know how -- when you get abused, you can end up being -- you

·8· turn into your abuser and -- and everybody's wrong and it's --

·9· and you don't take no responsibility.· I know I hurt my parents

10· too.· There were things I said.· I didn't come home.· You know,

11· when you were a parent, you have a child, you want to see your

12· child.· I went years.· We were strange for two decades.

13· · · · · · MR. YOUNGBLOOD:· That's right.

14· · · · · · MR. REID:· You know, so there's that.

15· · · · · · I want to address this right here because I want to

16· help everybody.· And this is a LRL.· She say with all due

17· respect, the abuser may have a different answer as to if it was

18· mutual.· Well, you know, when you're listing in conversations

19· like this, you have to listen completely, because what Duane

20· said was, and I asked him was it mutual?· And he said -- I asked

21· him was it force.· That was the question.· And he said, no.· You

22· know, it was like cosensual.· And then he said, I am or was the

23· responsible party.· He said that.· And then you said that person

24· could really not give consent because you had the power.

25· · · · · · MR. YOUNGBLOOD:· That's right.


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·1· · · · · · MR. REID:· So I want the challenge everybody in the

·2· chat to listen and not look for don't listen to this

·3· conversation like you do everything else on YouTube and TV.

·4· Don't listen for the salacious.· Don't listen for -- for the T.

·5· Listen for the lesson.· Every time you come here.· It's laugh

·6· and learn.· That's what I say all the time.· You come to laugh

·7· and you come to learn.· And so, I'm going to challenge everybody

·8· to listen fully to what is being said.

·9· · · · · · MR. YOUNGBLOOD:· Yes.

10· · · · · · MR. REID:· And let's stay in the conversation of from

11· groom to abuse, then to turning into a groomer and an -- and an

12· abuser.

13· · · · · · Okay.· So I want to -- so your answer to that question

14· is that you -- you -- you really do not know.· It's -- it

15· reminds me I asked someone that was -- I'm going to -- I'm going

16· to be transparent, which I've already had disc -- discussion I

17· said it wouldn't happen no more.· But here it is.

18· · · · · · I used to wonder would I have any kind of attraction

19· to the same sex if I was the -- if my first memory wasn't the

20· smell of a man's crotch and choking on a -- on a penis.· And

21· that -- and I wonder that.· And what I realize is the power of

22· conditioning because of what was happening in my family in the

23· incest.· I wasn't the only one.· My sister's in the chat.· My

24· oldest sister.· It was tens of us.· And this went on for

25· generations and generations and generations to this very day, I


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·1· believe when I go and see some of my family members and the

·2· young people I look in their eye and I know that look.· And --

·3· · · · · · (YouTube ads played.)

·4· · · · · · MR. REID:· I got to a place to where I was like, you

·5· know what, that don't matter.

·6· · · · · · MR. YOUNGBLOOD:· That's right.

·7· · · · · · MR. REID:· It doesn't matter.· And so, I understand

·8· your answer to that.

·9· · · · · · All right.· So, what do you say to those who say that

10· relates to Bishop Quander Wilson, because that's the first

11· person that violated you, then Bishop Jakes that violated,

12· groomed you, then Bishop Sherman Watkins?· What do you say to

13· those people who say, well, they didn't force you to do anything

14· from this -- your own story, it doesn't sound like they forced

15· themselves upon you.· It doesn't sound like that they were

16· predatory in the sense of force and taking it and making you do.

17· So, it just sounds like you had a moment with leaders that you

18· admired and lightweight celebrities as a young preacher.

19· · · · · · So you -- you got what you wanted.· Now, you look back

20· and you didn't get everything you wanted.· And now you're

21· picking over the story and making yourself a victim since you

22· have committed a crime.· What do you say about that?

23· · · · · · MR. YOUNGBLOOD:· Well, I think that those individuals

24· absolutely for one, they can't.· They don't know me.· But two,

25· they didn't hear the story.· So let's go to the story again so


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·1· we're clear.

·2· · · · · · I was asleep when Quander Wilson put his hands and I

·3· use genitals because I'm being extremely clean in what I say

·4· here.· I was sleeping.· I was told by him that he had five big

·5· bedrooms.· The bedroom at the end of the hall, the -- the -- is

·6· the biggest one with the biggest bed.· A man in his stature

·7· would have easily said, oh, there's four rooms because the one

·8· at the end of the hall is mine.· He said, I've got five, giving

·9· me the choice.· And then came in that room in the middle of the

10· night, climbed in that bed with me.· And while I was sleeping,

11· put his hands on me in a very inappropriate manner.

12· · · · · · And when I woke up, he acted as if he were speaking in

13· tongues over me and praying.· Now, if that's not a level of

14· force.· First -- first and foremost, I was 16.· So this is the

15· chief apostle.· There is no way possible I am going to come at

16· this man.· I was in awe of this man.· And so, even when he did

17· that, I simply rolled over and tried to fake like I was going to

18· sleep because I had the utmost respect for him.· But it was

19· doing something terrible to me.

20· · · · · · When it comes to Bishop Jakes, when I was sharing the

21· story the other day, this -- I -- I'm just running through the

22· story.· But I want to make sure people are very clear.· I said

23· that we were sitting at a dining room table.· And I looked at my

24· watch and said, I've got to get up and get out of here because

25· I've got to get my mother's car back to her.· But what may have


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·1· been misunderstood is that Bishop Jakes got up, came around that

·2· table and positioned himself in the corner that I had to walk

·3· past.

·4· · · · · · When I was walking past that corner, he grabbed me.

·5· There is no reason if you're going to just give me a hug as

·6· we're leaving, go to the door with me and let's hug it out and

·7· let me go out the door.· We are not at the door.· We are still

·8· in the dining room and he is in the corner, grabbed me to

·9· himself, looked down into my face.· And then tried to bend his

10· head down to kiss me on my lips.· That is not a -- you didn't

11· get what you wanted to get.

12· · · · · · When I got home that next day, what I learned by

13· Bishop Jakes' phone call to me was what he thought of me.

14· · · · · · MR. REID:· Yes.

15· · · · · · MR. YOUNGBLOOD:· Because he said there's three things

16· that I need you to do without hesitation.· There's no long build

17· up or nothing.· So it tells me that the conversation that I had

18· with him, his observation of me, made him believe that what he

19· was getting ready to share, I would go with it.· That means he

20· had thoughts about my sexuality, my identity, all of those

21· things before he even made the suggestion.

22· · · · · · And so, he suggested to me, one, you're going to be

23· the only person I'm going to have sex with when I come to

24· Pittsburgh.· Two, you can't sleep with nobody else because I

25· can't give this to my wife.· And three, I'm going to take care


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·1· of you the rest of your life.· To me, that is absolutely forcing

·2· your position, your idea onto the person.· When I go to church

·3· that night, forcing me to read for you.· Absolutely.

·4· · · · · · When we get to Bishop Watkins and I share --

·5· · · · · · MR. REID:· Can -- yes, I want you to go into that.

·6· But I --

·7· · · · · · MR. YOUNGBLOOD:· Okay.

·8· · · · · · MR. REID:· -- I just want you to know that by no means

·9· am I -- you already done your crime and time.· By no means am I

10· coming at you in any kind of way.

11· · · · · · MR. YOUNGBLOOD:· No.· No.· No.

12· · · · · · MR. REID:· This is just so there's more clarity.

13· · · · · · MR. YOUNGBLOOD:· Yeah.· That's why I want to clarify.

14· · · · · · MR. REID:· And I must say that you're being very kind

15· in the way that you're describing.· And -- and you're not --

16· this is my opinion.

17· · · · · · I think that --

18· · · · · · (YouTube ads played.)

19· · · · · · MR. REID:· And this is hard for me to believe.· Not

20· that I don't believe you.· I just try to put myself in people's

21· shoes.· And I can't understand why -- who -- who did that to

22· Bishop Jakes for him to think that was okay?· I mean, you --

23· that is force.· You didn't ask.· There was no conversation

24· before.· He -- he didn't know you.· He just looked at you.· If

25· you're -- you're a nice looking man at 57.· So --


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·1· · · · · · MR. YOUNGBLOOD:· Thank you.

·2· · · · · · MR. REID:· -- also I would think that --

·3· · · · · · MR. YOUNGBLOOD:· I appreciate it.

·4· · · · · · MR. REID:· -- 20 years ago you probably looked even

·5· nicer.

·6· · · · · · MR. YOUNGBLOOD:· Thank you.

·7· · · · · · MR. REID:· At least that's what I would think.· But

·8· just some -- a lot of times Black look better the older we get.

·9· God, I look better than I have ever in my life.

10· · · · · · But it just -- I -- I -- it's hard for me to

11· understand that.· And how could that turn you on?· And no

12· judgment if you guys are into BDSM.· But I just -- I -- I don't

13· understand how that can be a turn on for him to try to kiss

14· somebody.· And then to tell you that I'm going to take the --

15· and he hadn't had a conversation with you.· And -- and -- and

16· you hadn't told him whether you were saying gender loving or

17· not, right?

18· · · · · · MR. YOUNGBLOOD:· This is -- no.· And this is the

19· reason why --

20· · · · · · MR. REID:· So I got --

21· · · · · · MR. YOUNGBLOOD:· -- I am clearer --

22· · · · · · MR. REID:· I got a question.

23· · · · · · MR. YOUNGBLOOD:· -- that he had ideas.

24· · · · · · MR. REID:· That -- right.· So that's -- that -- so

25· this is why I said what I said.· Do you think you were passed


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·1· around without knowing?· Because I know preachers today, how

·2· they do.· If they knocked one down, rub one, text, sex text,

·3· they tell each other.

·4· · · · · · So do any part of you believe that he had an inkling

·5· already had heard rumors and he just chose you?

·6· · · · · · MR. YOUNGBLOOD:· Well, listen, it -- from what I would

·7· understand when I've asked people who were around my life at

·8· that time, I probably showed signs of a person who was saying

·9· gender loving.· And in private, not at the church, not --

10· · · · · · MR. REID:· Okay.

11· · · · · · MR. YOUNGBLOOD:· -- at the dinner table that night

12· where there were other people, but it was just he and I in

13· private, I had just been quite enamored with his presence, our

14· conversation, all of it.· And in many cases, again, I've been on

15· the other side of this.· People's all their defenses are down

16· after all that.

17· · · · · · And so, again, remember this.· I shared with you that

18· Bishop Jakes told me the reason he did this and said this to me

19· was because his stock was rising and he would have slept with

20· anybody.· So I believe that I was just another person, another

21· opportunity.· And he didn't have self-control to deal with that

22· opportunity that he felt was in front of him.

23· · · · · · MR. REID:· And then the man Quan -- Quander, am I

24· saying that --

25· · · · · · MR. YOUNGBLOOD:· Quander.


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·1· · · · · · MR. REID:· Quander speaking in tongues.· It's -- I

·2· remember, I walked a few pastors through some things before I

·3· even started pastoring because I was like a house prophet.· And

·4· I remember this pastor that was caught.· And when it was time

·5· for him to be addressed, I mean, he went the spiritual route,

·6· speaking in tongues, all that kind of stuff.· So I do have some

·7· reference.· But how do you go slip in a bed to a teenager,

·8· touching their genitals and then you wake up you're speaking in

·9· tongues.· That make me feel like you are wicked.

10· · · · · · MR. YOUNGBLOOD:· Well, I want to make sure --

11· · · · · · MR. REID:· And I'm not trying to judge.· I mean,

12· because I know, rest in peace because he's passed.· And -- and

13· I'm not a judge kind of person because I'm -- I'm sure somebody

14· did this to him.· He was warped.· But that just sounds wicked

15· for you to then use spirituality, God and religion to sort of

16· cloak.· That means you were already doing it.· That -- to -- to

17· cloak your sexuality and that you're a predator.· I mean --

18· · · · · · MR. YOUNGBLOOD:· Well, Bishop Wilson was the founder

19· of our organization, Greater Emmanuel.· But he's also the man

20· who ordained Bishop Jakes and Bishop Watkins as bishops.· So

21· there was --

22· · · · · · MR. REID:· Hold on.· Hold on.· You didn't clarify that

23· to me.· I don't know these people.

24· · · · · · MR. YOUNGBLOOD:· Yeah.

25· · · · · · MR. REID:· So.· Well, then dern.· So it's -- it's --


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·1· it's just a spirit.· So Quander birthed these other two that

·2· violated you.

·3· · · · · · MR. YOUNGBLOOD:· These two were in the same

·4· organization.· We were all in Greater Emmanuel.· I was just much

·5· younger.· We were all in Greater Emmanuel under Quander Wilson.

·6· In 1988, Sherman Watkins left and started his own organization

·7· out of Greater Emmanuel.· And Bishop Jakes, after being made a

·8· bishop by Quander Wilson, he left and joined Bishop Watkins as

·9· his vice bishop.

10· · · · · · So it is an extension in the leadership component of

11· the nature of Greater Emmanuel.· And so, I am not surprised.

12· And again, it's not just them.· The culture of Greater Emmanuel,

13· the culture of Higher Ground exhibits these types of things.            I

14· was a part of both organizations.· I was a young man and a young

15· minister and just started pasting in Greater Emmanuel.· I was in

16· Higher Ground 15-plus years serving Bishop Watkins.

17· · · · · · And so, it's been cultural for me.· I don't know any

18· other organizations.· But in this, I can see that this type of

19· thing has been extremely cultural.· And I believe there's a lot

20· of people who if you have these types of stories, you'll

21· recognize that there was a cultural permission for this type of

22· stuff.· I know personally myself, that if I had conversations

23· with Bishop Watkins around this type of activity, which is

24· totally inappropriate for a pastor, it was absolutely laughed.

25· We laughed.· We talked about what I did, what he was doing,


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·1· whatever it was.· This was cultural.

·2· · · · · · And so, when I left in 2005, I wasn't holier than

·3· that.· I left messed up.· I left doing mess.· I left having hurt

·4· people.· But I knew inwardly, that's why I'm talking about this

·5· grace tonight, I wanted something different.

·6· · · · · · MR. REID:· So the reality is, you were groomed by this

·7· network of I mean, predators.· And then, you became one of the

·8· boys.

·9· · · · · · MR. YOUNGBLOOD:· Yes.

10· · · · · · MR. REID:· Like them.· And then you went and did the

11· same thing.

12· · · · · · MR. YOUNGBLOOD:· Yeah.

13· · · · · · MR. REID:· I understand that.· I'm going to tell you

14· one of the reasons why I'm going through a lot of changes with

15· this.· Because it's -- I believe so much in the goodness of

16· humans.· And I feel like folks make bad choices and the humanity

17· that's unfinished, underdeveloped, unhealed, unprocessed get the

18· best of them.· But it's difficult for me to believe that

19· somebody was set out to do this.· Because, in my mind, the armor

20· bearer and the pastor, they spend a lot of time together.

21· There's preaching, prayer, travel.· Lines get crossed.· I get

22· that.· You all making each other calm.· I got that.

23· · · · · · She's your secretary.· You all always dealing.· It's

24· like a work wife.· Lines get crossed.· You all having sex.· It

25· goes on for ten years.· Then it stops.· You know, I get that.


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·1· You get drunk.· You have sex with somebody.· I'm not making any

·2· of this right, but it -- that makes sense.· But going after

·3· somebody, that makes no sense to me.· And I'm like you have to

·4· be messed up.

·5· · · · · · So who did this?· So I wonder who did it to Quander?

·6· I wonder, did Quander do it to Watkins.· And then Watkins do it

·7· to Jakes.· And -- and I -- I -- I -- and Jakes did it to you

·8· before Watkins got his chance at you.· That just look like

·9· that's what it is to me.

10· · · · · · And I want to say this.· If any of these pastors and

11· preachers that we are discussing have blessed your life, then

12· hold that as your primary thought about them.· Honor them for

13· that.· And hold them in high regard.· But in addition to that,

14· accept any and all truth that is linked and tied to their

15· humanity and their impe -- imperfections.· You don't have to

16· choose one or the other.· You can do both.

17· · · · · · MR. YOUNGBLOOD:· That's right.

18· · · · · · MR. REID:· And I'm telling you, you should do both

19· because if somebody was used by God to help you, you honored and

20· hold it in high regard.· I know hearing this, it may hurt

21· because history can not be made up.· We had Brian Keith Williams

22· to come in the chat to confirm.· I've talked to six other people

23· and haven't told you nothing about it.· Because we've had one

24· conversation is our last interview and text on top of that.· Who

25· confirm as much as possible because nobody was there when these


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·1· acts happened, so we don't know how that happened, if it

·2· happened.· We're just going on by what you said.· But everything

·3· gets outside of that, everybody confirms.· Everybody -- these

·4· people -- I'm being -- it's relative.· I say everybody.· But

·5· these people confirm time, date, year, place and everything else

·6· you're saying.

·7· · · · · · So I'm inclined to believe because of that and the

·8· fact that I received a phone call 24 hours -- quicker than

·9· 24 hours before we finish of trying to find out from one of

10· several fixes that Mr. Jakes has, trying to find out what they

11· need to do before part two or part three or part four.· I've

12· been doing this a while.· That only happens when truth has been

13· told.

14· · · · · · So I'm inclined to believe you.· At the same time I

15· know that I wasn't there.· And I also know I could be looking at

16· this through my lens and I'm a little biased.· But I will be

17· honest and say that I do believe you.· I believe that you're

18· telling the truth.· Energetically, you feel honest.· You

19· don't -- it doesn't feel that you're mad.· You don't seem mad at

20· all.

21· · · · · · MR. YOUNGBLOOD:· Mm-mm.

22· · · · · · MR. REID:· And you don't feel like you're trying to

23· get anybody back.

24· · · · · · MR. YOUNGBLOOD:· No.

25· · · · · · MR. REID:· You're just telling the story.· And it's


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·1· blessing our socks off because we've never seen someone who has

·2· abused and went to jail, come out and say, this is how I got

·3· here.· And this is what I've done.· And this is --

·4· · · · · · MR. YOUNGBLOOD:· Yes.

·5· · · · · · MR. REID:· -- I just ain't seen it.· So hats off to

·6· you.· And thank you, because I don't know how great of a

·7· ministry you had before, although I heard it was great, but this

·8· here for me, you're at -- in my list of top ten of people that I

·9· would trust what they say.· Because I think that you've been

10· tried by fire.· I think that as a result, your character is more

11· Christlike at this place in your life, to me, than a lot of

12· people.· Not just preachers, that I know.

13· · · · · · Okay.· So I just wanted to say that as it relates to

14· those of you that have been blessed by -- I hope you're writing

15· down timestamps, Kim.· That whole speech, I just doing what's.

16· Good that'd be a good actually clip.· What I need for you to do,

17· write down the clip.

18· · · · · · This -- I also want to say this, too.· I want to talk

19· to pastors.· And we -- we're going to -- we got some stuff --

20· we're going to end up have do a part three.

21· · · · · · MR. YOUNGBLOOD:· Oh, yeah.· Definitely a part three

22· for -- yeah, for other reasons.

23· · · · · · MR. REID:· Yeah.· Yeah.· And then the other people

24· that have came forth.· But I'm -- I'm going to talk to you about

25· that after I say this.


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·1· · · · · · I want to say this too about pastor.

·2· · · · · · MR. YOUNGBLOOD:· Yes.

·3· · · · · · MR. REID:· Oh, my God.· This -- these conversations

·4· are just so heavy for me and they make me pray through the

·5· night.· And pastor unprocessed, unexpressed sexuality is a

·6· problem.· Pastors unprocessed, unexpressed sexuality --

·7· · · · · · MR. YOUNGBLOOD:· Is a problem.

·8· · · · · · MR. REID:· -- is a problem because what happens is,

·9· they start experimenting with those that are closest to them,

10· which many times is their flock.

11· · · · · · MR. YOUNGBLOOD:· I'm --

12· · · · · · MR. REID:· And wait a minute.· I don't have a whole

13· lot of judgment there.· But you need to look at the teachers,

14· the CEOs, the artists, musicians, your older siblings or the

15· cousins and therapists, they do the same thing.· When you have

16· to suppress what hasn't been processed in the world of your

17· sexuality, you're not going to have proper sexual conduct.· You

18· just ain't going to do that.

19· · · · · · You're going to make decisions on a whim and do to

20· a -- a due to a drive and a feeling and you're going to do it

21· quickly.· And I understand that.· But you have to consider

22· teacher, pastor, CEO, artist, drama, keyboard player, because we

23· only look at the pastor, but this is the -- this -- this has

24· happened with anybody in the position of power.· You have to

25· consider your influence and your power.


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·1· · · · · · (YouTube ads played.)

·2· · · · · · MR. REID:· Because as it relates to the person that

·3· you are with, they see you as that influencer, as that person of

·4· power, with great talent and they themselves aren't even

·5· thinking when they're doing what they're doing with you because

·6· of your position of power.· So don't think past the preacher

·7· artist that this is a real relationship that you're developing

·8· with this person.· You end up having feelings for them and you

·9· think it's mutual.· That's all of a farce.· Because it is

10· impossible for you to connect in your humanity when you plan

11· these roles of power inside of a religious institution.

12· · · · · · All right.

13· · · · · · MR. YOUNGBLOOD:· Am I --

14· · · · · · MR. REID:· I just -- I just had to get it off of my

15· chest.

16· · · · · · MR. YOUNGBLOOD:· Amen.

17· · · · · · MR. REID:· It's sitting on me and it's making me --

18· · · · · · MR. YOUNGBLOOD:· Yeah.

19· · · · · · MR. REID:· -- really heavy.

20· · · · · · MR. YOUNGBLOOD:· Yeah.

21· · · · · · MR. REID:· Now, I want to ask you a question and you

22· can --

23· · · · · · MR. YOUNGBLOOD:· Yeah.

24· · · · · · MR. REID:· -- you can decide not to answer it.· But

25· I've been doing this job for a while and there's some things I


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·1· know about that count and there's some names.· And I haven't

·2· been able to make it make sense.· And I think you would know.

·3· Two names, they're really six, but I'm only going to call two,

·4· because it's from that work and it's years ago.· One has passed,

·5· Roosevelt Ford, Tim Anderson, Richard Youngblood, which is your

·6· brother.

·7· · · · · · MR. YOUNGBLOOD:· Mm-hmm.

·8· · · · · · MR. REID:· Because he worked with Jakes, correct?

·9· · · · · · MR. YOUNGBLOOD:· Correct.

10· · · · · · MR. REID:· And Tim Anderson was youth pastor.· So it's

11· somewhere in there, correct?

12· · · · · · MR. YOUNGBLOOD:· Correct.

13· · · · · · MR. REID:· I heard these stories.· Is there any truth

14· to any of these stories from what you know, as it relates to

15· Bishop Jakes?

16· · · · · · MR. YOUNGBLOOD:· Well, a 100 percent I'm going to --

17· I'm going to say this relative to Bishop Roosevelt Ford.· I was

18· in the absolute dark of his life because -- well, I -- I'll give

19· this quick synopsis.

20· · · · · · All right.· So Higher Ground, we had pastors

21· conference in Atlanta, Georgia.· And in that conference, that

22· was the first time that I had ever seen Pastor Ford.· And I saw

23· him in a very interesting light.· And I chose to not get

24· involved in what I saw.· I went into my room and I just remained

25· in my room.· But sometime later, unbeknownst to others at his


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·1· choice, we had some conversations.· And he shared a lot of

·2· things with me.· He got ill.· He died in 2008.· But I knew from

·3· that conference.· And then a couple of years later he came to

·4· our national convention, which was held at the Potter's House in

·5· Dallas.· And I watched what happened with him.· Wonderful

·6· person, personality and all.· But totally, in my opinion,

·7· mishandled.

·8· · · · · · Right now, I won't -- I won't go any further than that

·9· because I'm -- I'm going to respect him in that sense.· And I --

10· I would check something.· And then I -- I would say more at that

11· point.

12· · · · · · As far as it comes to Tim or my brother.· My brother

13· absolutely just -- I'm not going to tell his full story because

14· he -- he's willing to come and share it.· But I'm going to say

15· this.· My brother literally left Pittsburgh with his entire

16· family to go to Charleston, West Virginia to be with

17· Bishop Jakes.· My brother's words was he was going to go and

18· find his Moses and he was Joshua.· Bishop Jakes absolutely

19· welcomed this, eventually made him an armor bearer.· My brother

20· traveled with them.

21· · · · · · The experience that he had on the road with

22· Bishop Jakes was a horrific experience.· And it -- at a time

23· when my brother and I eventually had full on conversations to

24· realize that both of us had had crazy experiences with this

25· person.· Jakes did some additional things in my brother's story


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·1· that were quite detrimental.· My brother had written a blog

·2· about this.· And back then, Jakes was a pretty powerful person.

·3· And he did everything in his power to discredit my brother and

·4· myself at that time.

·5· · · · · · Tim understands grooming like you can't -- you can't

·6· imagine.· Tim was saved at Higher Ground and became a youth

·7· pastor at the potter's house under Bishop Jakes.· And Tim also

·8· looks for the opportunity for part three or four, whatever it

·9· is, to come and share very clearly.· As a matter of fact, my

10· brother and Tim are in that chat tonight.· Because they told me

11· they would be watching that because I -- I now know, you know,

12· I -- I -- I'm not -- I don't know who brought these things to

13· you.

14· · · · · · But I can say this, that these individuals Tim has

15· been in my life over 40 years.· And my brother's been in my life

16· my whole life because he's four years older than me.· And so,

17· what we're saying in essence about all of this is that people

18· say, why are you bringing this out now?· I want you to

19· understand something, that we hear things that are happening

20· today.

21· · · · · · MR. REID:· Yeah.

22· · · · · · MR. YOUNGBLOOD:· See, I got room for everybody's

23· humanity, including my own.· We're hearing things that are

24· supposedly happening today.· And it was frustrating to me

25· because I thought when this stuff happened 40 some years ago and


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·1· I was told that it was because my stock was rising, that -- that

·2· means that you've outgrown these behavior patterns and treating

·3· people like they don't matter, like they're just numbers.· And

·4· then to find out that this stuff is still happening in 2023 and

·5· 2024.

·6· · · · · · So it's very frustrating in that sense.· And so, I

·7· felt compelled to have to share my own personal story, which

·8· included my own failures and my own humanity.· But yes, I do

·9· know those three individuals.

10· · · · · · The Bishop Ford story is horrible to me.· And from

11· what was -- what he told me, it was horrible.· And -- and

12· involved several people in the organization at that time.· And

13· so, I -- I'm going to leave it at that.· But I'm -- I'm say this

14· to you that the three names that you mentioned absolutely have

15· had history with Bishop Jakes.· And their history is horrible.

16· And it's not much different than mine.

17· · · · · · MR. REID:· I heard from some people that had their own

18· personal experience with Quander Wilson as well.

19· · · · · · MR. YOUNGBLOOD:· Mm-hmm.

20· · · · · · MR. REID:· This conversation really opened up a

21· conversation that people have been holding, waiting to have.

22· And then, I also was con -- contacted by those that I've already

23· spoke to that a couple of them have been paid off by Jakes

24· before.· And now, they're considering, you know what, if it was

25· more than me, Larry, maybe we need to talk on camera.· So, I


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·1· think that's all because of you.

·2· · · · · · And I thought that I just -- I really don't like this.

·3· Because -- but I know we got to have the conversation.· I like

·4· that part.· But I don't like it.· I just don't like it.· I -- I

·5· don't like it.· I -- I can't -- I can't put it in words.· And I

·6· usually don't share like this.· But anybody who's watching me do

·7· this work behind the scene, you all know I go through a 1,000

·8· changes before I start having to have a conversation about

·9· something somebody have done.

10· · · · · · You know, because this is worse than a pastor having a

11· baby by another woman and hiding them, in my opinion.· That

12· child is scarred forever.· But when a when -- a person -- you

13· 57, I think you said.

14· · · · · · MR. YOUNGBLOOD:· Yes.

15· · · · · · MR. REID:· This happened decades ago.· And it affected

16· how you showed up in your world.· And I don't even know how it

17· affected your wife, because you're still with the same wife.

18· · · · · · MR. YOUNGBLOOD:· Yes.

19· · · · · · MR. REID:· How -- how in the -- the man -- and you got

20· kids too, right?

21· · · · · · MR. YOUNGBLOOD:· Yes.

22· · · · · · MR. REID:· I can't imagine.· And how old are your

23· kids?

24· · · · · · MR. YOUNGBLOOD:· My youngest daughter is born in 1992.

25· And my oldest was born in 1990.· And then I've got some children


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·1· and love that we've adopted along the road as well.

·2· · · · · · But, yes, my -- my children have gone through

·3· tremendously because, number one, because of what my dad had

·4· done to my sisters, I decided I would never do this to my

·5· daughters.· And so, I asked my wife to come off her job and to

·6· spend time with them.· So I wasn't as much emotionally involved

·7· with them.· And I'm sure the way they would see it is dad is

·8· kinda detached.

·9· · · · · · MR. REID:· But is that -- but did you do that because

10· you didn't trust yourself?

11· · · · · · MR. YOUNGBLOOD:· I don't think that I felt that I

12· would have done anything to them.· But at the same time, I just

13· didn't know what the possibilities were.· I just know I wanted

14· them protected from this ever happening.· My children have never

15· spent the night at their grandparents home.

16· · · · · · MR. REID:· Mine neither.

17· · · · · · MR. YOUNGBLOOD:· And -- and so, there were things that

18· I -- I know they don't fully understand.· And those light -- in

19· that light.· But at the time, again, remember, I had kicked my

20· own father out of my own heart.· So there was no way I was going

21· to give him access to my children without my wife or myself

22· being present and things of that nature.

23· · · · · · But I want to say this beyond all that, Larry, from

24· what is being shared in here tonight, this is the fault, the

25· fault of the thing we call the church system.· See, if we --


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·1· there's a mistake that I hear that is so loud in church.· And

·2· that is, we assign so much to the holy spirit.· Do you know,

·3· we're assigning stuff to the holy spirit that humans have to do.

·4· · · · · · MR. REID:· Come on.

·5· · · · · · MR. YOUNGBLOOD:· If -- if -- if some of this stuff

·6· we're talking about tonight, which is very common in the world,

·7· is going to be dealt with, we -- you can't come down somebody's

·8· aisle and somebody hickima sanda (phonetically) over· top of you

·9· and this all goes away.· This is what we were taught.

10· · · · · · My dad came and stood behind me when I was 17 years

11· old in a prayer service, laid his hands on my shoulders,

12· speaking in tongues and said that God said, tonight it's been

13· dealt with.· He was talking about my sexuality.· And I don't a

14· bit more like a man on this moon believe that you can lay hands

15· on somebody and cancel all of the things that they're going to

16· have to deal with.

17· · · · · · And so, years ago in church, they didn't believe in

18· therapy.· We didn't believe in good counsel.· Everything was

19· coming through the spiritual leader.· One man, one woman was

20· supposed to have it all.· And if you go back further and check

21· how we got here.· I mean, people who had slaves wanted us to

22· have that type of leadership.

23· · · · · · MR. REID:· Yeah.

24· · · · · · MR. YOUNGBLOOD:· Because they could control those

25· people and send them out with the messages they wanted the


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·1· slaves to hear.· Here we are in 2024 and we don't understand

·2· that sometimes a message that keeps you giving your money so you

·3· can get blessed or keeping yourself under authority so you don't

·4· be cursed and all of these things, fit people upfront.· But the

·5· people in the seats, it takes forever for them to get better.

·6· And they can go from one church to the other church and think

·7· this one is better.· But the problem is not the leader.· The

·8· problem is the system.· And until the system changes, this kind

·9· of stuff is going to continue to happen.

10· · · · · · In the book of Acts, for those of you who love the

11· Bible about this, the book of Acts didn't have no pastor.· It

12· had a plurality of elders because God would never believe that

13· one person's perspective would be enough to govern all the

14· things happening in a congregation.· And so, we made these

15· people heroes and champions.· And I -- listen, Bishop Jakes has

16· even said that when he steps on stage, he feels like god.· You

17· know -- you know, we don't understand when we're cheering and

18· celebrating insecure people, including myself, sometimes you

19· need that celebration and that person, you the man, you the --

20· you the best.· And you -- or when you preach people jumping and

21· skipping and running around the building, it -- you see that

22· week after week after.· You don't know what that's doing to a

23· damaged person already.· Because I don't believe for one second,

24· for one second, that what these individuals tried to do with me

25· or what I tried to do with other individuals is just isolated.


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·1· This stuff is globally happening.

·2· · · · · · And until people stop falling for the fact that

·3· somebody is so more spiritually advanced than you and God speaks

·4· to them for your whole house and he don't tell you nothing about

·5· you and your kids.· He's telling -- until we stop that nonsense

·6· and start believing in God and you, you're going to always have

·7· this kind of confusion and these types of stories happening in

·8· the church.

·9· · · · · · MR. REID:· Uncovering, discovering and realizing God

10· in you will bankrupt every religious organization that

11· thrives --

12· · · · · · MR. YOUNGBLOOD:· Mm-hmm.

13· · · · · · MR. REID:· -- by disconnecting people from their

14· thinking capacity.

15· · · · · · MR. YOUNGBLOOD:· From your thinking capacity and your

16· family.· Because I'm telling you, I don't know about everybody's

17· churches, but I spent too much time in places where we were not

18· taught to really go home and get it right.

19· · · · · · MR. REID:· Yeah.

20· · · · · · MR. YOUNGBLOOD:· You all work on it.· Work on it.

21· Instead of having all these services and all this time at the

22· church and got the woman cooking for the pastor and her husband

23· ain't getting no feet -- no food.· Instead of all this divisive

24· stuff to literally say, we're going to share this word with you,

25· but we want you to go home and you all work on this together.


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·1· · · · · · We only give a perspective.· We're only sharing

·2· something with you this morning or this evening, but go home and

·3· work on it together.· It'll strengthen families.· But I'm

·4· telling you I -- I'm sitting here tonight.· I've got family

·5· members in the chat who love me, whom I love, but I've also got

·6· family members that I so want to connect with as the days and

·7· the weeks and the months go by.· Because more than leading a

·8· church of thousands, I would love to have a good relationship

·9· with people who I share DNA.· Because there is something

10· powerful when people who share DNA can look past what you know

11· about each other and celebrate the commonness that you have with

12· a god who is sending all of you something through that DNA.

13· · · · · · And so, I'm excited for what's coming, Larry, because

14· I believe it's good.· And I got room for Bishop Watkins'

15· humanity.· You said -- you made a statement about Bishop Watkins

16· maybe did this to Jakes.· I don't -- I don't know what

17· Bishop Watkins may have done -- did do.· I'm going to say this

18· concerning Bishop Sherman Watkins.· The years that I spent with

19· Bishop Watkins, most of it was absolutely good.· The --

20· there's -- today in my life, there is no way I understand how to

21· handle finances, manage finances, invest money if it wasn't for

22· Dr. Sherman S. Watkins.· He clearly shared so many great and

23· good things with me.· I firmly believe that what happened to

24· Bishop Watkins is that TD Jakes became his cash cow.

25· · · · · · And see, money changes us.· Bishop Watkins is -- was


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·1· well established, flourishing, well loved and liked in that

·2· community.· And he had something that made me look and highly

·3· respected him.· But I'm telling you, if you're not careful, the

·4· love of money is the root of all evil.· And if you're not

·5· careful, you will trade in everybody --

·6· · · · · · MR. REID:· Yeah.

·7· · · · · · MR. YOUNGBLOOD:· -- for some money.

·8· · · · · · MR. REID:· Money is the root of all evil because money

·9· always reflect whatever evil is.

10· · · · · · MR. YOUNGBLOOD:· Is in the heart.· That's right.

11· · · · · · MR. REID:· Right.· And I -- you just confirmed more

12· for me who you are and your intention, because the same person

13· that violated you, you turnaround and say, now, wait that ain't

14· all he did to me.

15· · · · · · MR. YOUNGBLOOD:· No.

16· · · · · · MR. REID:· That, I ain't seen that.· You all tell me

17· the chat, you seen that online on these YouTube shows, on TV.           I

18· ain't seen that.· Maybe I missed it.· But for me, because see,

19· that's what I would do.· And I do that all the time when I'm

20· talking about Jakes and these other people.· I said, well,

21· let's -- I always tell both sides.

22· · · · · · For me that just confirm for me that no --

23· · · · · · (YouTube ads played.)

24· · · · · · MR. REID:· I would be stupid to not consider a great

25· deal of what you said as the absolute truth.


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·1· · · · · · MR. YOUNGBLOOD:· My.· My.

·2· · · · · · MR. REID:· Because that -- that's just proves to me

·3· your intent.

·4· · · · · · Okay.· Now -- now, I heard a rumor, but I can't

·5· confirm it.· Although I did see a video that Bishop Sherman

·6· Watkins stepped down today from his ministry.· Now, the video I

·7· saw that I don't want to play on the platform because it so

·8· blurry, but I got it.· His exact words were, "I'm going to leave

·9· you, but I'm going to leave you in good hands."· And was pulling

10· some other man up there, I guess that's been with him for a long

11· time.

12· · · · · · MR. YOUNGBLOOD:· Mm-hmm.

13· · · · · · MR. REID:· Then I heard that in his message, he said,

14· now, I didn't get -- get this clip, that what's been said about

15· me is not true.· I don't like boys.· I like girls.

16· · · · · · Do you think -- first of all, I'm going to say this.

17· Now we know where Bishop Jakes get it from.· Because when

18· Bishop Jakes came up in that pool pit last year, December in

19· that red jacket and answered back Larry Live Show how he handled

20· Carlton Pearson and then came back and answered this again when

21· we began to discuss him and P. Diddy.· I was saying on my

22· platform -- somebody said, Larry, he answered back to you -- you

23· made it.· No, I made it when I first made my first million.

24· · · · · · MR. YOUNGBLOOD:· Come on.

25· · · · · · MR. REID:· I don't -- can't think about him.· That --


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·1· that's not a win for me.· I said, you're stupid.· Why are you

·2· answering me back?· Why are you using the pool pit to answer

·3· this stuff?· That's a storefront church preacher move.· And

·4· that -- let me see the video I saw on Sherman.· He learned it

·5· from him.· It's stupid to do.· You validate and verify a

·6· person's story when you get on your platform and then you start

·7· saying what they saying ain't the truth.

·8· · · · · · Now if they had got up there and said, because both of

·9· them did the same thing, said it's not true.· If they had got up

10· there and said anything would have been you know, pray for me.

11· There are some things I've done in my past that I are not --

12· will either tell us what it is, then we can move on.· But to do

13· that, you really set yourself up for a pull down, not a fall,

14· but a pull down to where other powers get involved to begin to

15· pull you down.· And when I say other powers, I'm not talking

16· spirit, ethereal, celestial.· I'm talking FBI, SBI, IRS.· Them

17· letters.· Because we saw that with P. Diddy and --

18· · · · · · MR. YOUNGBLOOD:· P. Diddy.

19· · · · · · MR. REID:· Have others contacted -- first of all, do

20· you think that he stepped down or you think there was a quick --

21· that was a knee jerk reaction because he was in the moment?

22· What did you think about that?

23· · · · · · MR. YOUNGBLOOD:· Well, knowing Bishop Watkins the way

24· that I know him and I think I know him very well.· Bishop made a

25· move today that is detrimental for years to come.· Bishop chose


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·1· today to preserve his image and not his church.

·2· · · · · · He chose to stand up there and say, I didn't do it.

·3· And meanwhile, what was said about him from me happened prior to

·4· 2005 because I said I left in 2005.· But he couldn't even speak

·5· truth to that.· Instead, he did what I've seen done many times

·6· when I was there.· It's not the truth.· I would never -- when I

·7· left Higher Ground, I -- like -- like I said, there is an email

·8· trail from Bishop Watkins and I.· There is an email trail of why

·9· I told him I was leaving.· There is an email trail of when I

10· referenced to him about the things that he said to me concerning

11· other men.· There's an email trail of all of this.· So in that

12· time, he said he had never been with another man.· He was

13· writing this in an email because he wanted me to -- he knew he

14· was writing it, but he had previously shared so much.

15· · · · · · And there's some things I will never do to Sherman

16· Watkins.· I don't care what he does.· There's certain -- some

17· things I'm not going to cross the line and do to him.· I'm just

18· not going to do that.· But I will say this much.· Today, I don't

19· know that he stepped down because I -- I believe that if he

20· stood up there, he did what he's never done before.· He said

21· that because I saw this video clip.· He said that this is the

22· person.· And he walked off and left that man at the podium with

23· the microphone.· This is after he had already preached.

24· · · · · · He said, we're not going to leave.· We're going to

25· continue to praise God.


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·1· · · · · · MR. REID:· Yes.

·2· · · · · · MR. YOUNGBLOOD:· I don't care what the devil said.

·3· This is all the stuff that preachers can do when you're in the

·4· moment.· I've made so many bad decisions moving in the fear of

·5· the moment, as opposed to taking a moment and think it over --

·6· · · · · · MR. REID:· Now, if he --

·7· · · · · · MR. YOUNGBLOOD:· -- as to --

·8· · · · · · MR. REID:· -- if he didn't step down --

·9· · · · · · MR. YOUNGBLOOD:· Ah-huh.

10· · · · · · MR. REID:· -- then he needs to explain this show

11· because all of what you just said, he said.

12· · · · · · MR. YOUNGBLOOD:· Mm-hmm.

13· · · · · · MR. REID:· What he did, Larry Reid has the video.             I

14· watched it myself, the audio and the -- and the -- well, let

15· me -- you all let me know if you think the audio you can make it

16· out.· To me, is -- I had to listen a 159,000 times in order to

17· understand what the hell he was saying.· And then he don't talk

18· that good.· I'm -- I'm -- I don't mean to talk about your

19· ex-spiritual father.· But I'm just saying, he don't talk that

20· good.· And my nervous system ain't got it.

21· · · · · · All right.· Hold on.· See if you can hear it.

22· · · · · · (YouTube ads played.)

23· · · · · · (A video was played.)

24· · · · · · UNIDENTIFIED SPEAKER:· But I want to tell you.· I'm

25· leaving you in good hands.· I'm telling you now and we ain't


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·1· going to stop praising.· And then nobody going to leave.· We're

·2· going to be here (indiscernible.)· We're going to still sing

·3· praises.· We're still going to sing praises.· (Indiscernible.)

·4· I don't care what (indiscernible) say.· (Indiscernible).

·5· · · · · · (End of video.)

·6· · · · · · MR. REID:· Oh, he made it like he about to shout

·7· something.· And he said -- there's more to this.· But did you

·8· all hear how Duane said word for word what he's -- I'm inclined

·9· to just believe you.· I'm -- I'm inclined to believe because you

10· ain't -- your character is just shining through in all of this.

11· · · · · · Now, I got a couple of questions.· And I know --

12· forgive us if you feel like we jumping around and leaving stuff

13· untucked.· But clearly, we're going to be doing another --

14· · · · · · MR. YOUNGBLOOD:· Yes.

15· · · · · · MR. REID:· -- conversation.· And I do want to talk to

16· Richard Youngblood.· And I do want to talk to Tim Anderson.· And

17· I want to say to those of you that are watching that I talked to

18· that I never share your name.· I think it's a good time for you

19· to have the conversation.· But what I don't want it to be is

20· a -- we're going after Jake.· We're going after Jakes.· We're --

21· no, we're go -- is -- you all, this stuff I've been doing since

22· 18.· And I've had to cover a lot of Jakes stuff.· And I never

23· ca -- I could have sat right here and told everybody's story.

24· But that's not how I operate.

25· · · · · · But the conversation needs to be had and this is


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·1· something that needs to be considered.· Why no one saw that

·2· Jakes was struggling or is struggling in his sexuality and did

·3· not say something to him about moving differently than the way

·4· that he has been moving?· I mean, he's been paying off people.

·5· I mean, left and right.· And some of that, you guys, I have been

·6· involved.· What you mean Reid?· Let me explain.

·7· · · · · · I knew what was happening.· And I knew people were

·8· being paid.· Some of them said, well, why do you let people be

·9· paid up?· Listen, if I have been touched, and I have by six of

10· my cousins, if any of them was rich, way richer than me, I will

11· want to be paid for my pain.· I don't think there's nothing

12· wrong with that.

13· · · · · · So when I know that's going on, and yes, I have

14· watched that be done with Jakes and so many other preachers.            I

15· just go quite and -- and -- because what do -- what am I -- what

16· am I here to do?· To create a conversation, laugh and learn.            I

17· am not the court.· I am not God.· It's not my place to pull

18· nobody down or pull the covers off nobody.· But if it come out,

19· we're going to talk about it.· And then get everything out of

20· what we need to get.

21· · · · · · So does -- in that spirit and energy, I say I want to

22· talk to Richard Youngblood.· I say I want to talk to

23· Tim Anderson.· And I will not call the other names.

24· · · · · · MR. YOUNGBLOOD:· Yes.

25· · · · · · MR. REID:· Because I think it needs to be a


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·1· conversation.· And I love that Duane Youngblood doesn't have

·2· nothing to lose, has his wife, his homes, his money and a pretty

·3· well-off man.· And -- and I think because of that is why you can

·4· just tell the truth and sleep well at night.

·5· · · · · · So I want to ask you a question, a couple of

·6· questions, Duane.· But it's not really coming from me, really.

·7· · · · · · MR. YOUNGBLOOD:· Mm-hmm.

·8· · · · · · MR. REID:· And a question I'm about to ask, I've never

·9· asked anybody.

10· · · · · · MR. YOUNGBLOOD:· Okay.

11· · · · · · MR. REID:· Because I don't think it's nobody's

12· business.· But I have a question.

13· · · · · · How would you describe your sexuality today?

14· · · · · · MR. YOUNGBLOOD:· I think the question is a little

15· lower.· I think that's a -- that's a question that fits if I was

16· in a church setting.· That would be a good question.· If I was a

17· person who was really tuned into what culture is saying and

18· doing right now.· That's a good question.· But for the process

19· that I'm in, there's a word evolve, an evolving process.

20· · · · · · I'm learning so many things about myself that I feel

21· where I have not fully come to the complete answers.· There's a

22· word that's used in various communities, it's called fluid.

23· When things are moving in a particular direction of life.· I'm

24· not going to name it, entitle it --

25· · · · · · MR. REID:· Yeah.


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·1· · · · · · MR. YOUNGBLOOD:· -- all those things, because I really

·2· do believe that I'm in a process.· I -- when you have things

·3· happen the way they happened in my life, as early as they

·4· happened in my life, you take the time and day-by-day.

·5· · · · · · MR. REID:· I -- I --

·6· · · · · · MR. YOUNGBLOOD:· I am not going to in any area of my

·7· life ever again rush or be rushed into anything.· So what I say

·8· in that particular area, because I don't -- I don't answer this

·9· question as a bishop.· I answer this question today as a human.

10· · · · · · MR. REID:· Yes.

11· · · · · · MR. YOUNGBLOOD:· I'm allowing myself to evolve and to

12· come to a point in my life where what I say -- I'm going to say

13· you will, Larry.· This is critical.· Because there was a time in

14· my life that I was a people pleaser.· And after I got arrested,

15· I wrote a book called Freedom From Homosexuality.· I wrote that

16· book because I really wanted people on my side.· I wanted them

17· to believe that I was better and I was all this nonsense that

18· was to appease that group of people who I'm no longer interested

19· in appeasing them.· I'm interested in pleasing God and myself.

20· And so, that means getting to the core of what's real.

21· · · · · · So I won't be making no statements about sexuality and

22· writing books about what God is for and God ain't against.· I'm

23· going to do the -- the good work of getting up tomorrow if God

24· gives me the strength and continuing to do the work of evolving

25· in my own life.· And I'm thankful, the best part, I'm thankful


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·1· to have people in my life who want me to do that, because most

·2· people don't get to do that work in their lifetime.· Most people

·3· unfortunately end up saying what they think people want them to

·4· say, doing what they think people want them to do while they're

·5· in front of people, stuff like that.· I'm done with that life.

·6· · · · · · MR. REID:· I fully, 100 percent understand in light of

·7· all that we know you have been through.· And I'm sure that's

·8· only the tip of the iceberg.

·9· · · · · · MR. YOUNGBLOOD:· Yes.

10· · · · · · MR. REID:· That you are in the process and in the

11· journey and you don't want to name anything --

12· · · · · · MR. YOUNGBLOOD:· Mm-mm.

13· · · · · · MR. REID:· -- just because somebody ask you,

14· especially if within yourself you're still data collecting,

15· exper -- experiencing things from the recesses of -- of your

16· mind and still having new experiences.· I got it.· So for all of

17· you -- and that's -- I asked that question for the chat.            I

18· wasn't --

19· · · · · · MR. YOUNGBLOOD:· Oh, absolutely.· I'm -- I'm glad.

20· · · · · · MR. REID:· Not my chat.· But that I went to another

21· platform who I love.· He's in the chat.· The Official Tyesse

22· Report.· And a lot of the people over there, I can't understand

23· the obsession with other people's sexuality if you're not trying

24· to frock them.· And so, I never asked that question, but I --

25· · · · · · MR. YOUNGBLOOD:· Yeah.


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·1· · · · · · MR. REID:· -- ask that question --

·2· · · · · · MR. YOUNGBLOOD:· I have no problem.

·3· · · · · · MR. REID:· -- for them.· And I would like to say this

·4· now that I ask -- asked it for them.· Why in the whole hell in

·5· the heaven you want to know or care when the title of this whole

·6· conversation is from abused to abuser and we're discussing all

·7· of the abuse?· Why you want to know if he still get hard when he

·8· see a nigger?· I don't understand that.· I -- I don't -- and I

·9· -- I think there is an ungodly desire to know more than what you

10· have the right to know across the board.· That's -- that's one

11· big thing with this whole everybody being transparent.· And

12· that's a mistake I made.

13· · · · · · I shared too much.· And it gave people opportunity to

14· create lies out of the thin air.· And then you use clips and --

15· and blurbs from what I say here to confirm some narrative that's

16· just not true.· So I -- I think that we need to not care about

17· who we ain't thrucking.· It ain't none of your -- and I really

18· want to cuss.· I -- it's -- it's none of your business.· Oh,

19· Lord, that was so hard.· Because I felt like it was just right

20· to cuss.· But just stop it.

21· · · · · · If you are not sleeping with them and he's a married

22· man -- why are you wanting know?· If the wife with him, then

23· clearly, they're good friends and they got a great relationship

24· and something she understand.· So -- so she's -- she's there for

25· a reason.· Hell.· And you all see he ain't ugly.· And she 57


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·1· too.· She know all the (indiscernible) out here is crazy to say,

·2· well, I got this one that I know I love me.· So I might as well

·3· keep being with him.· I -- I'm willing to understand that too.

·4· · · · · · All right.· Okay.· I got -- it -- oh, we've been hour,

·5· 35 minutes.· Okay.· But we going to do more parts.· And even if

·6· Tim and Richard need you to be on with them, I'm okay with that.

·7· · · · · · MR. YOUNGBLOOD:· Yes.

·8· · · · · · MR. REID:· For that -- for that kind of thing.

·9· · · · · · All right.· Has any people contacted you since this

10· interview telling you a similar story of their experience?

11· · · · · · MR. YOUNGBLOOD:· Absolutely.· I've -- I've had -- I'm

12· a -- I'm -- I can't even count the numbers of people who have --

13· first of all, people were trying to find a way to reach me.

14· · · · · · MR. REID:· Yeah.

15· · · · · · MR. YOUNGBLOOD:· So --

16· · · · · · MR. REID:· That's good to be exclusive.

17· · · · · · MR. YOUNGBLOOD:· Yeah.· Yeah.· Yeah.

18· · · · · · So I wasn't as a visible and available in social

19· media.· I've had boatloads of people in my Facebook page

20· requesting friendship and all kinds of things.· But I've gotten

21· quite a few emails and calls and text messages, along with my

22· family members have received them as well.· And people have in

23· every camp that I addressed, everything except my father in

24· Quander Wilson's life, Bishop Jakes and Bishop Watkins.· I've

25· been approached with multiple situations that some recent, very


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·1· recent and some that were a little bit ago.· So absolutely.

·2· · · · · · And here's what was the best part of all of it.               I

·3· don't know.· The best part to me was that people are feeling

·4· like, you know what, it's time for me to recover.· Because

·5· people -- people get -- I -- I -- I can -- I can only imagine

·6· because of the people that I genuinely had some love for, but I

·7· hurt these people.· There is nothing more today that I want them

·8· to see those people okay.

·9· · · · · · MR. REID:· Yeah.

10· · · · · · MR. YOUNGBLOOD:· There are people who've talked to me

11· this week, today as a matter of fact, who really are in a very

12· confused state.· And I just want to see them be okay.· And they

13· felt that they could share with me because of the interview,

14· they could share with me what had happened to them.· And I -- I

15· must -- I must say this to you that it's -- it's -- it seriously

16· saddens me to know that this is so widespread and it's not just

17· Greater Emmanuel and Higher Ground.· It's everywhere.

18· · · · · · MR. REID:· Yeah.

19· · · · · · MR. YOUNGBLOOD:· But it's -- it's sad that it -- that

20· it's like it is.

21· · · · · · MR. REID:· It is -- it is sad.· But people like you

22· and me who are not afraid to have conversations, it helps

23· them --

24· · · · · · MR. YOUNGBLOOD:· Absolutely.

25· · · · · · MR. REID:· -- you know, process whatever they got


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·1· going on.· 110,000 priests that served, I think it was in a -- a

·2· two or three-year period, about 5,000 of them were found to be

·3· messing around with the members, particularly the alter boys.

·4· · · · · · MR. YOUNGBLOOD:· Mm-hmm.

·5· · · · · · MR. REID:· And I've never understood why the Catholic

·6· church, you know, that all Black churches revere wearing the

·7· collars and all different color shirts.· I'm not going to drag

·8· it because my mentor do it.· And I am not going to be dragging

·9· my mental, but he know how I feel.· The -- that revere some of

10· you -- you revere a church that is founded on slavery and sexual

11· deviance and power plays.· Why -- why -- why are we revering the

12· Roman Catholic Church?· Could that be some of the infestation

13· the root cause of some of the infestation that is happening in

14· our churches?

15· · · · · · Because these abuse cases keep piling up.· And the

16· Catholic Church has got so much money.· They pay everybody off.

17· And the reality is, Jakes' nickname in the Black church is the

18· black -- was the Black Pope.· And he's been able to -- I mean,

19· payout.· At this point, I -- I say -- feel safe to say millions,

20· payout millions of -- of dollars.

21· · · · · · I think the church needs to look at herself.· And I

22· hear people say, close it, get rid of it.· I don't feel that

23· way.· It just needs reform.· A reform in the system.· And the

24· way that it is, I have always said that I think the way the

25· church is set up, you go into a room and listen to one man talk


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·1· every single week, sometimes several times a week.· It's not

·2· good for you or him if nobody is considering the repercussions

·3· of that kind of setup.

·4· · · · · · There are certain things we need to talk about.· If

·5· I'm coming every Sunday and there's music that emotionalism, we

·6· having a transcended experience as a people, so we all get

·7· turned on together.· And then, you have this man that is

·8· speaking to us that we're looking at, that we are being engaged

·9· with.· It really sets things up -- things up to where these men

10· become like gods, like you said, Jakes said when he get on the

11· stage, he feel like God.· And then you begin to worship them

12· like God and hold them in the world that they don't even exist

13· in.· I think it's all frucked to the high heavens.· And it needs

14· reform.

15· · · · · · And I think you are a key player in causing this

16· reform to happen.· Do you feel that this that you're doing is

17· the -- is -- is -- I know you're doing it for yourself, but can

18· you see the ministerial side of this having this conversation?

19· · · · · · MR. YOUNGBLOOD:· Oh, yeah.· This week just literally

20· blew my mind with the numbers of people who that interview

21· personally, I'm not -- I'm not talking about the people who had

22· no connection.· And therefore, it was just something to talk

23· about.· I'm talking about people who in something that I shared

24· could connect to it.· Those individuals found a lifeline.· And I

25· didn't expect it to be a lifeline.· But they found it to be one.


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·1· And it makes me realize, because Larry, I was literally saying

·2· that I wanted to know what was next.· And God had shared with me

·3· I believed that I needed to come out of this tunnel and this

·4· story sharing was the way I would get out of the tunnel to know

·5· what's next.

·6· · · · · · One of the things I learned this week that was so

·7· difficult, was that if men come out and say this kind of stuff

·8· it's treated differently --

·9· · · · · · MR. REID:· It is.

10· · · · · · MR. YOUNGBLOOD:· -- than if women come out and say it.

11· · · · · · MR. REID:· I don't -- I don't see no woman coming out

12· and saying that I was touching my students and I was -- and --

13· · · · · · MR. YOUNGBLOOD:· No.· If she says that she was

14· abused --

15· · · · · · MR. REID:· Oh, yeah.

16· · · · · · MR. YOUNGBLOOD:· -- it's way more believable than a

17· man saying it.· And so, there's --

18· · · · · · MR. REID:· Yeah.

19· · · · · · MR. YOUNGBLOOD:· -- so many guys sitting in the dark

20· dealing with the pain because they can't -- they don't feel that

21· they can speak.

22· · · · · · Think of it like this, someone who's not gay.

23· · · · · · MR. REID:· Right.

24· · · · · · MR. YOUNGBLOOD:· So how -- how do you feel comfortable

25· even having that conversation, whether it's a therapist or


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·1· whatever.· But I'm suggesting to people that if something is

·2· keeping you from your peace, you don't have to come on Larry

·3· Reid Live or -- but you need to get with yourself.

·4· · · · · · MR. REID:· Yeah.

·5· · · · · · MR. YOUNGBLOOD:· Because it's going to impact every

·6· relationship.· Trust me.· I didn't know it until I look back.

·7· When I look back, I can see how I damaged people that I say I

·8· loved because I was carrying a virus that was interfering with

·9· every connection I was trying to make.· And so, I -- I strongly

10· see that this story has begun something, that I'm willing to

11· allow god as he -- however he sees to use it to continue it to

12· being an assist in people's lives.

13· · · · · · I -- I -- you asked me before about a book and my book

14· may be a -- a month or so away from being released and you know,

15· on YouTube and stuff like that.· But I didn't come on here with

16· any of that done.· And I could have because that's the kind of

17· man I am.· I know how to get stuff done so that it'd be ready.

18· · · · · · MR. REID:· Right.

19· · · · · · MR. YOUNGBLOOD:· I didn't want to come here looking

20· like I'm shopping something.

21· · · · · · MR. REID:· Yeah.

22· · · · · · MR. YOUNGBLOOD:· I'm -- I'm really here to share a

23· story.· And I pray that people hearing this story will do

24· something in your story because your life deserves it.· You

25· deserve to live your best life.· And you deserve to start right


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·1· now.· Don't wait.· Get up.· Get started.· And I guarantee you

·2· you're going to be very, extremely happy if you do.· And I -- I

·3· like this.· I say this to people and it's hard for some of them

·4· to understand it.· Going to prison was the best thing that could

·5· have happened to me because I would have never stepped down from

·6· that church.

·7· · · · · · The mindset that I had, I would have continued to see

·8· people cycle in and out of there because of my own pain.· And I

·9· would have stayed there because you have a loyal following of

10· people.· But where I sit today, I'm thankful to be able to help

11· some leaders even see that it's in your best interest to take

12· some time.· It's in your best interest to consider don't have a

13· crash when you could simply pull the car over and say, you know

14· what, I need to step out for a moment and get some things done,

15· so that I can be in a better place to help more people.

16· · · · · · And so, I encourage you watching tonight, those of you

17· who will see it later, if you can get beyond my story and beyond

18· the things that you think about me and understand that I'm just

19· one person.· There are so many people with different stories who

20· got the same kinds of pain and they need an opportunity to get

21· up.

22· · · · · · MR. REID:· Yeah.· Wow.· All right.· So we -- there was

23· a few questions put in here.· So we're going to -- let's see if

24· we're going to do a quick fire because we really --

25· · · · · · MR. YOUNGBLOOD:· Go ahead.


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·1· · · · · · MR. REID:· -- have 14 more minutes left.· I do want to

·2· say this and so let me take one of them minutes.

·3· · · · · · There was a woman that did a video from Higher Ground

·4· that --

·5· · · · · · MR. YOUNGBLOOD:· Yes.

·6· · · · · · MR. REID:· -- saw your video.

·7· · · · · · MR. YOUNGBLOOD:· Yes.

·8· · · · · · MR. REID:· And she talked about how Bishop Sherman

·9· Watkins hid her rape in the church, is that correct?

10· · · · · · MR. YOUNGBLOOD:· That's what she said.· She was -- I'd

11· been molested and -- and raped for a long time.· And she knew

12· the person because they were in leadership.· And he hid it.· And

13· she decided to go live yesterday and share it.· She'd had had

14· conversations in the middle of the week concerning this

15· interview that I had done last week.· And she decided she was

16· going to step up and -- and do that.

17· · · · · · MR. REID:· Wow.· That's interesting.· Okay.

18· · · · · · And I think she was interviewed by the Official

19· Tayesse Report today.

20· · · · · · MR. YOUNGBLOOD:· Oh.

21· · · · · · MR. REID:· So you can go and watch her interview with

22· him as she shared more.· That's the Official Tayesse Report.

23· · · · · · So let's do some quick fire questions.

24· · · · · · MR. YOUNGBLOOD:· Yes.

25· · · · · · MR. REID:· Okay.· Is there anyone willing to discuss


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·1· the grooming and abuse from the women of God?· Okay, this is one

·2· of my spiritual children.· Joy, we might have to bring you on to

·3· have that conversation because that is so rampant and it's not

·4· discussed at all.· Same gender loving women in the church,

·5· that -- meaning the ones that pray from the mother board and

·6· from the pools and from the choir room, prey on other women and

·7· turn them out literally by eating them out.· That's a whole

·8· mess.· So let -- let's have that conversation and -- and look at

·9· that, because a lot of -- a lot of women have momma trauma and

10· drama.· And that's really the door that this happens through for

11· a lot of women.· And some women have had a whole lot of pain

12· from men.· And sometimes that's the door how they get into that.

13· Some stay, some go back to being strictly -- but it just all

14· depends on -- on the women and the situation.

15· · · · · · All right.· Because sometimes sexuality can be

16· circumstantial.

17· · · · · · MR. YOUNGBLOOD:· Yes.

18· · · · · · MR. REID:· All right.· Another question.· I have mixed

19· emotions.· I feel heavy.· I didn't watch the first interview

20· because I couldn't.· I understand.· So is it inevitable that the

21· abused will become the abuser?· No.

22· · · · · · MR. YOUNGBLOOD:· Absolutely not.

23· · · · · · MR. REID:· No.· Absolutely -- in fact -- and I --

24· · · · · · MR. YOUNGBLOOD:· Statistically, it's less likely.

25· · · · · · MR. REID:· That's right.· That's what I was about to


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·1· say.· I love a smart Black man.· Right.

·2· · · · · · Statistically, it's less likely.· Remember that.

·3· James Powell, when are we going to see part two of the

·4· documentary?· Oh, to my personal documentary.· Unfortunately,

·5· the files were destroyed, so we got to redo a lot of interviews

·6· all over again.· We'll get back to it.· I'm doing a lot of

·7· traveling now.· I'm investing heavily.· The ministry got all

·8· these reformations.· We be in -- I'll be in Africa on Friday for

·9· ten days.· I come back.· I do holidays.· I go back to Dubai.

10· And then I run to Aruba.· And then I got to go to Hong Kong.            I

11· got a lot of stuff I got going on.

12· · · · · · So -- but I'm fully in investments right now.· So give

13· me a little time and we'll get it done.· Thank you for asking,

14· James Powell.

15· · · · · · Bong, how you go.· Not everyone who is groomed and

16· abused become a groomer and abuser.· Thank you.

17· · · · · · Byron, what impact do you think your actions had on

18· the victim and their families?· Great question.

19· · · · · · MR. YOUNGBLOOD:· Actually, des -- highly destructive.

20· When you are considered by people to be a spiritual leader, a

21· leader, whatever your position may be, any kind of leader.· And

22· you cross those lines and violate those relationships, you

23· are -- not only are you wounding the person in a way that's

24· going to take some time for -- for them to deal with it, you're

25· also wounding the way they see leadership.


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·1· · · · · · And that's -- it could be leader anywhere in life.

·2· And people need people to help them navigate on various levels.

·3· And so, absolutely, hurt people hurt people.

·4· · · · · · MR. REID:· Yeah.

·5· · · · · · MR. YOUNGBLOOD:· And -- and I believe that it can

·6· create a cycle of hurt as well when you hurt someone else.· It

·7· could open them up to doing some of the very same things to

·8· themself or to others.· And so, I can't tell you how saddened I

·9· am that I ever hurt anyone.· But I know I have.· And I get up

10· and do stuff like this right here or talk to people tonight or

11· tomorrow because I want the rest of my life to be good stuff.

12· · · · · · MR. REID:· I know that.

13· · · · · · MR. YOUNGBLOOD:· I can't change the crazy, the wrong

14· stuff.· But oh, can I do something about today and tomorrow.

15· And so, yes, it hurts people, detrimentally hurts them, scars

16· them.· As I've told you about my own story.

17· · · · · · MR. REID:· Yeah.· Okay.· So we're not going to get to

18· the rest of the question.· We only got eight minutes because

19· he's long-winded like me.

20· · · · · · MR. YOUNGBLOOD:· You said rapid fire, so you know, I'm

21· sorry.

22· · · · · · MR. REID:· That was slow.

23· · · · · · MR. YOUNGBLOOD:· That was not rapid.

24· · · · · · MR. REID:· All right.· Renee my question is, Mr.

25· Youngblood, has anyone reached out to you to pay you to keep


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·1· quiet about your story?· Yes, I can answer that.· Not directly

·2· to him.· They reached out to me.

·3· · · · · · All right.· Official -- that's to -- where you can

·4· watch the interview, the Official Tyesse Report terribly

·5· additive platform.· How does he identify with regards to his

·6· sexuality?· We've already answered that question.· He don't --

·7· he ain't got no definition yet.· His name is Duane.

·8· · · · · · All right.· How -- Howell.· Does he have children,

·9· namely sons?· You have sons?· We know you got children.

10· · · · · · MR. YOUNGBLOOD:· Natural -- my natural children are

11· daughters.· But in my adopted children, I have sons.

12· · · · · · MR. REID:· Okay.

13· · · · · · MR. YOUNGBLOOD:· And I've talked with my sons this

14· week.· And my one son just was in tears telling me how proud of

15· me he was.

16· · · · · · MR. REID:· Wow.

17· · · · · · MR. YOUNGBLOOD:· And my other son, we talked a couple

18· of hours before this interview tonight.· I'll see him tomorrow.

19· And I'm thankful.· I told them both.· And I'm going to say this

20· so you all can hear it.

21· · · · · · I've said this to -- my second son, I didn't -- we

22· didn't have this conversation with my first son and another guy

23· who had been in the church reached out to me.· And I told them

24· both this.· I says, you know what, you guys have great

25· relationship with me, high respect and regard for me because I


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·1· never tried to cross a line or violate you.· But there are

·2· people that I did and there are people that I've hurt.· And

·3· those people don't feel the same way.

·4· · · · · · So I'm very grateful for the -- the kindness that I

·5· have from the people that who are -- who are -- who are kind

·6· have shown their kindness this week to me.· But at the same

·7· time, I also understand there are people who are hurt and who I

·8· let down and disappointed.· And so for those people, I -- I pray

·9· that God mends those places in their hearts as well.· But yes, I

10· do have sons and daughters.

11· · · · · · MR. REID:· That was all we needed.· You did all that.

12· · · · · · MR. YOUNGBLOOD:· Ain't that a mess?

13· · · · · · MR. REID:· A hole a mess.· That's what the church will

14· do to you.· Make you just --

15· · · · · · MR. YOUNGBLOOD:· That's what it'll do.· See.

16· Sermonizing.

17· · · · · · MR. REID:· Okay.· Stacy.· Oh, that's one of -- how --

18· how are the kids, baby?· What safeguards does he have in place

19· to not go back to those negative behaviors?· Great question.

20· · · · · · MR. YOUNGBLOOD:· Great question.· Let me say this as

21· quick as I can get it out.

22· · · · · · One of the things I have in place now is, I have a

23· team, a support team in my life.· Here's the other thing, three

24· words, authenticity, integrity, which the -- this is critical

25· and discipline.· These three words never rated in my life until


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·1· I started reading John Maxwell books.· Authenticity, integrity,

·2· and discipline.

·3· · · · · · So with a support team and really focusing on staying

·4· authentic, walking with integrity and having the discipline to

·5· get up and carry it out every day, I feel pretty good about

·6· where I am and the direction that I'm headed.

·7· · · · · · MR. REID:· Great.· That was a little bit better.

·8· · · · · · How do you reconcile being labeled as a sex offender

·9· within your close community?

10· · · · · · MR. YOUNGBLOOD:· I don't reconcile being labeled as a

11· sex offender.· I understand that the label sex offender is

12· political.

13· · · · · · MR. REID:· Oh.

14· · · · · · MR. YOUNGBLOOD:· If -- if I -- I have happened.· So

15· I'm going to -- I'm going to say this because this is -- Larry,

16· this ain't going to be as quick, but people are going to love

17· it.

18· · · · · · I was incarcerated with people who committed murder

19· and I taught classes, financial classes, to people who kill

20· people, hung people, shot people, raped, whatever.· This -- they

21· were all there.· And so, I understand politically when you're

22· running for election, it's very good to put fear into people and

23· say that you are going to be strong against sex offenders

24· because that term just creates such a crazy ora.

25· · · · · · But I challenge you to look up and you will find


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·1· statistically people who have sex offenders re-offend less than

·2· any other crime.· I'm going to say it again.

·3· · · · · · MR. REID:· It's true.

·4· · · · · · MR. YOUNGBLOOD:· Sex offenders re-offend less.· Now,

·5· they're disputing and debating about why that might be true.

·6· But it's more political than it is anything else.· And so --

·7· · · · · · MR. REID:· Same thing with child support.· There's a

·8· whole -- that's -- that --

·9· · · · · · MR. YOUNGBLOOD:· That's a family court.· That's a

10· mess.· But the sex offender is a problem because, again, you're

11· on a list.· People can see your address and all that kind of

12· stuff.· So it's very political.· There's a lot involved with it.

13· · · · · · And in my case, I have no problem with discussing the

14· realities of that because those are my realities.· I am

15· embracing my life and my story.· I -- I'm not going to hide from

16· none of it.· Because if I authentically be me, I'm going to

17· bless somebody and I'm going to be blessed.

18· · · · · · MR. REID:· Absolutely.· I love that.· Bishop Watkins

19· recently stepped down, we discussed this.· What about the

20· situation with the 16-year-old, do you identi -- I only knew

21· about a 15-year-old and a 17, right?

22· · · · · · MR. YOUNGBLOOD:· There ain't no 16-year-old.· But that

23· may be talking about the 15-year-old.· I said the person can't

24· give consent.

25· · · · · · MR. REID:· Right.


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·1· · · · · · MR. YOUNGBLOOD:· And legally speaking, you can only

·2· give consent at a certain age.· And I don't like the word

·3· consent when you're committing a --

·4· · · · · · MR. REID:· Right.

·5· · · · · · MR. YOUNGBLOOD:· -- violation against a person anyway.

·6· · · · · · MR. REID:· That's why Texas came up with them laws.

·7· North Carolina threw it out, I think.· But I know them laws for

·8· clergy because you a position of power.· They need to do it for

·9· the others too.· But that position of power, it's -- the consent

10· thing is -- is shaky with that.

11· · · · · · MR. YOUNGBLOOD:· Yes.

12· · · · · · MR. REID:· And Texas -- Duane, where you at, Indiana,

13· Ohio?

14· · · · · · MR. YOUNGBLOOD:· I'm in Pennsylvania.

15· · · · · · MR. REID:· Oh, but that's where it was.· And 16 is not

16· the age of consent there, right?

17· · · · · · MR. YOUNGBLOOD:· No.

18· · · · · · MR. REID:· It's 17, I think.

19· · · · · · MR. YOUNGBLOOD:· You -- you can give -- there's

20· certain things you can do.· But there are certain things that

21· are still a crime at 16.

22· · · · · · MR. REID:· Yeah.· Ah-huh.· Yeah.· Okay.· That's what I

23· think -- I thought.· Okay.

24· · · · · · All right.· At what age did you get married?· Did you

25· share this info with your wife?· Great question.


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·1· · · · · · MR. YOUNGBLOOD:· I got married when I was 22 years of

·2· age in 1989.· And I did not tell my wife all this stuff.· My

·3· wife was young as well.· And it's crazy the -- I'm sure everyone

·4· out there watching this, you can understand this.· That when

·5· you're younger and especially when we were younger, a lot of

·6· people didn't talk about a whole lot of stuff.

·7· · · · · · MR. REID:· Mm-mm.

·8· · · · · · MR. YOUNGBLOOD:· People didn't even know how to broach

·9· this stuff.· I had one conversation with my wife before we got

10· married about some things around my sexuality.· One

11· conversation.· And so, absolutely not, I didn't entrust that

12· with her.

13· · · · · · And today, I -- that would be a great regret except

14· for the fact that I in no way was in a position or under any

15· instruction that that was something that you should do.

16· · · · · · MR. REID:· I know what you're talking about.· I know

17· that what I did I was crazy.· I told everything.· I -- I told

18· her everything.· I have even told her stuff that I told somebody

19· else I wouldn't tell.· But I told that anyway.· Because I -- I

20· mean she's the one who I'm married to, so I need to tell her,

21· that's how I feel like.· And plus, we are friends, you know, so.

22· · · · · · MR. YOUNGBLOOD:· Yeah.

23· · · · · · MR. REID:· Yeah, it makes a difference.

24· · · · · · Let me see here.· What do you all hope to accomplish

25· by doing this?· No for real, it seems a bit trashy and like


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·1· school -- school on Saturday.· No class.· Okay.· We -- we -- I

·2· -- I don't even think we should respond to that.

·3· · · · · · MR. YOUNGBLOOD:· Okay.

·4· · · · · · MR. REID:· I say that this is probably somebody that

·5· just love who they love.· And I can't blame them for that.· So

·6· they can't.· This is how come I said what I said earlier.· These

·7· people we're discussing have done great things for you.· You

·8· should hold them in that honor in that regard.· But in addition

·9· to that, consider any and all truths concerning their truths --

10· truths concerning their --

11· · · · · · MR. YOUNGBLOOD:· Right.

12· · · · · · MR. REID:· -- humanity.· And in this situation, we

13· were not there when these acts were committed.· But there's been

14· so -- what the courts will call it, circumstantial evidence that

15· proves for me that what he is saying is the truth because

16· there's so many people corroborating your story.

17· · · · · · Someone say his -- Bishop Long is owed an apology.

18· Now, let me -- I know why you're saying that, because that means

19· you watch Larry Live.· I said this in 2019, that there was a

20· list of preachers and I refer to Jakes, that need to apologize

21· because all of them were doing the same thing.· And they ran

22· away from Bishop Long like he was the only guilty person.· They

23· were all shocked.· That is not the case.· They will go do this

24· stuff all together.· And that is yet -- that story has yet, at

25· least for me, I don't know about other platforms, has not been


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·1· told until I can get one of them to and trying to -- I ain't

·2· trying to get -- I ain't going to say trying to get one of them,

·3· but until one of them make a decision to talk to me publicly.

·4· Although I've already talked to them.· That's how that is.

·5· · · · · · MR. YOUNGBLOOD:· My.· My.

·6· · · · · · MR. REID:· All right.· Somebody says TD Jakes and

·7· Sherman Watkins young man from Columbus they traffic that boy

·8· and we know it.· The nail in the coffin is that young boy.· He

·9· has it all.· And they keep him surrounded.· They only let him

10· out short times, but they keep him on a short leash.· I can't

11· confirm that.· And this is coming from Toby Kinte.· Larry did

12· not say it.

13· · · · · · MR. YOUNGBLOOD:· Well, I'm going to say this.· I don't

14· know which young boy he might be referring to.

15· · · · · · MR. REID:· Okay.

16· · · · · · MR. YOUNGBLOOD:· But I can tell you this much.· There

17· is a person with a major story.· Whenever he decides that he

18· really wants to live his best life, he'll walk into it.· And --

19· · · · · · MR. REID:· That's a lot.

20· · · · · · MR. YOUNGBLOOD:· -- if he go walk into it, he got to

21· walk out of some other situations.· And I respect the person's

22· comment.

23· · · · · · MR. REID:· Okay.· I -- I -- yeah, I can't take no

24· more.· All right.· This is the last question.· Oh, Lord.· And

25· we -- hold on boss.· We three minutes over.


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·1· · · · · · Okay.· What was the reason for the split between

·2· Haga --

·3· · · · · · MR. YOUNGBLOOD:· Higher Ground.

·4· · · · · · MR. REID:· All right.

·5· · · · · · MR. YOUNGBLOOD:· And Greater Emmanuel.

·6· · · · · · MR. REID:· Mm-hmm.

·7· · · · · · MR. YOUNGBLOOD:· Ultimately, I just believe that

·8· Bishop Watkins felt to go in a different direction and a

·9· different method.· Bishop Wilson was quite kingdom and praise

10· team and worshipped dancers and whatnot.· And Higher Ground is

11· not that.· Bishop Watkins is more of a sermonizer.· And they're

12· going to have show enough knock down, drag out church.· And so,

13· the two just didn't look the same.· And the two leaders saw it

14· differently.· And so, you could see it play out in the way in

15· which the organizations went.

16· · · · · · MR. REID:· Yeah, we are complete.· Question.· At this

17· point in your journey, how do you keep from triggering whenever

18· you encounter attractive male teen church grocery store, out in

19· the public?· I think it's a great question our last one too.

20· · · · · · MR. YOUNGBLOOD:· Yeah.· I want to say this is good for

21· me.· I don't find myself attracted to teens.

22· · · · · · I want to say something that I think people were --

23· are going to have to consider.· A lot of times when things

24· happened to you at a early age, you emotionally stop your own

25· development.· So for me, part of what could have been perceived


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·1· as attraction was because that was my other.· That's where I

·2· was.

·3· · · · · · MR. REID:· Yes.

·4· · · · · · MR. YOUNGBLOOD:· You are sitting here looking at a

·5· mature masculine man who there is nothing that a teen is going

·6· to do for me.

·7· · · · · · MR. REID:· Amen.

·8· · · · · · MR. YOUNGBLOOD:· And that's in my reality.· That

·9· doesn't mean that people aren't attractive.· But it doesn't have

10· the impact that you may think that it could.· Because I -- I

11· think I've done some work myself now.· Now, that doesn't mean

12· that I'm careless and callous in how I approach life.· It just

13· means that I'm quite aware of where I'm at in my own journey.           I

14· keep a good support system with me.· And I live authentically in

15· those realms of my life with integrity.· So I -- I just thank

16· God for that.

17· · · · · · MR. REID:· Well, Duane Youngblood.

18· · · · · · MR. YOUNGBLOOD:· Yes, sir.

19· · · · · · MR. REID:· Once again, you have lead a conversation

20· that is insightful that we're going to be thinking about.· We're

21· going to watch this more than once.· I enjoy conversation with

22· you.· What is your sign?

23· · · · · · MR. YOUNGBLOOD:· Capricorn.

24· · · · · · MR. REID:· Okay.· Of course.· I would.· You come

25· across like a cat.


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·1· · · · · · So do you know what your rising is?

·2· · · · · · MR. YOUNGBLOOD:· I don't.

·3· · · · · · MR. REID:· You don't, okay.· All right.· I can -- I

·4· can help you with that.· But you're a late Capricorn.· You

·5· almost --

·6· · · · · · MR. YOUNGBLOOD:· It kind of in the middle because I'm

·7· December 29th.

·8· · · · · · MR. REID:· Oh, no.· You're an early cap.· Okay.

·9· · · · · · MR. YOUNGBLOOD:· Yeah.

10· · · · · · MR. REID:· All right.· But yeah, so anyway, great

11· conversation.· Thank you so much.

12· · · · · · Tim Anderson, Richard Youngblood, let me know when you

13· ready.· Now, I'm going to Africa Friday, but I can still work

14· from Ghana.· So it might not look as beautiful, but we can make

15· it work.

16· · · · · · MR. YOUNGBLOOD:· Yes.

17· · · · · · MR. REID:· And if I have the time while I'm there, I

18· can do that there.· I come back like ten days later.· And we can

19· have -- probably people need about ten, 15 days to sit with

20· these two interviews.· And then we can come back --

21· · · · · · MR. YOUNGBLOOD:· Yeah.

22· · · · · · MR. REID:· -- right before Thanksgiving and we can do

23· those back-to-back.· All right.· So you all, does it work -- get

24· me through the Duane, right?

25· · · · · · MR. YOUNGBLOOD:· Yes.


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·1· · · · · · MR. REID:· All right.· God bless each and every one.

·2· And this is what I want you all to do.· Oh, shoot.· I didn't

·3· even think about this.

·4· · · · · · Please donate to the platform right now.· It's $8.88.

·5· Three eights mean Christ.· So every time that you are giving

·6· $8.88 or got three eighths in it, you are literally giving,

·7· implanting into a harvest that is on the way that is filled with

·8· Christ's consciousness and Christology.· So do that.

·9· · · · · · These are the ways you can do it.· Cash App,

10· $mbnnetwork.· Please put your phone number in the memo section.

11· You can text the word give to 404-800-4530.· You can also send

12· it through Zelle, but use the email address,

13· info@thembnnetwork.org.· Venmo, @mbnnetwork.· Please make sure

14· you spell it right.· Or you can go to the mbnnetwork.org and you

15· can click donate.· And that's Paypal.· But you can write a

16· couple of sentences there in the memo section in addition to

17· your number.· Or just go to pushpay.com/gforgiven/thembnnetwork.

18· And if you want to do this easier, just go to the -- your app

19· store, type in the MBN Network, download the app.· And you can

20· always do your giving that easy right there.

21· · · · · · If you have enjoyed, please support.

22· · · · · · (YouTube ads played.)

23· · · · · · MR. REID:· This platform.· And I thank you for being

24· here.

25· · · · · · And I also want to invite you guys to go to IG and


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·1· follow the MBN Network IG.· You all follow me on there, Larry

·2· Live, but I need for you all to follow the ministry on the

·3· MBN Network.

·4· · · · · · Something amazing happened this morning in reformation

·5· prayer, prophecy coaching call, Duane, for years, I've done

·6· spiritual work, exorcism, house cleansing and stuff and

·7· prophesying.

·8· · · · · · MR. YOUNGBLOOD:· But, you know, that type of stuff

·9· work -- it -- it's always been segmented.· Over here, my music.

10· Over here, my preaching.· Over here, prophecy.· Over here,

11· casting out demons and house cleansings and stuff.· You know,

12· here's the actor.· You know, what has happened since 2022 when

13· me and my parents had a -- my -- my sight gift has entered the

14· world of my personal prophecy with people.· And it's getting

15· very interesting.

16· · · · · · So my best friend, who we've been best friends for

17· 30 something years, he had gave a supersede because we do given

18· in for levels because everybody's at different levels of their

19· faith and finances.· So the ones who give at the supercede level

20· right there in the moment, I speak the words of the Lord to

21· them.· But in that prophesying what God is telling me to save my

22· sight, which is the gift God gave me, opens up.· And I'm able to

23· peer in different places, sometimes in the ancestral plain.· And

24· his ancestors start coming through and confirming some things.

25· And it has been going on heavily lately.


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·1· · · · · · A baby that was aborted spoke to the mom during a

·2· prophesy.· I mean, it's just been crazy, but those clips are on

·3· the MBN Network IG page.· They pulled them from our prayer call.

·4· So follow the MBN Network, assemble the MBN Network IG page.

·5· Just listen to those prophetic moments and enjoy them.· And I

·6· know some of you be like oh my God, you -- you're talking to

·7· dead people, however you're wanting to say.· I mean, I don't

·8· care.· I mean, I've -- I've been called a witch for decades.

·9· · · · · · You know, there's nothing else interesting that I can

10· say about me.· I don't even -- I can't feel it.· I don't care.

11· I don't really care.· I accept -- I -- I -- I -- if I accept

12· that or feel it, I feel it in a positive light, even if it's

13· negative.· It's just how it is.· So I don't mind that.· But I

14· want you to enjoy that.· And I want you to learn from it,

15· especially those of you that are prophetic.· Because as I'm

16· seeing and -- and giving it, I'm explaining what is happening

17· and how I'm receiving that information.

18· · · · · · So that can help you and you using your gift to bless

19· other people like Duane.· How can we follow you online?

20· · · · · · MR. YOUNGBLOOD:· Well, I -- I created a -- a YouTube

21· space.· It's Duane Youngblood on YouTube.· And if you're on

22· Facebook, it's Duane Youngblood there.· And then I'm very much

23· more bigger in Tiktok world because of the -- the business stuff

24· that I do.· Over there, it's V Duane Yblood on Tiktok.

25· · · · · · But my YouTube space is where I'm going to begin when


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·1· I do.· I'm going to begin speaking more to this type of stuff.

·2· · · · · · MR. REID:· When would that be, first of the year after

·3· holidays?

·4· · · · · · MR. YOUNGBLOOD:· It's going to be before the end, but

·5· lightly.· Lightly.· But my book will be ready for the first of

·6· the year.· And so then is when we'll see the real ramp up.

·7· · · · · · (YouTube ads played.)

·8· · · · · · MR. YOUNGBLOOD:· In the beginning of the year.

·9· · · · · · MR. REID:· We will -- we'll be turning in.· I -- I --

10· I trust your -- your vo -- your voice and your lens on quite a

11· few things you've discussed.

12· · · · · · All right.· I'm probably going to be putting a little

13· something to nimble in my mouth and lay back in my bed and watch

14· the Official Tyesse Report review.

15· · · · · · And shot out to all of you guys that -- that review

16· these interviews.· I thank you.· I don't care if you are on --

17· or mims, make it makes sense.· Send a lot of people to watch the

18· video.· I don't even care how you feel about it.· I only care

19· how you feel about me.· Thank you.

20· · · · · · MR. YOUNGBLOOD:· Yes.

21· · · · · · MR. REID:· Some of you, I know you enjoy the

22· conversation.· But some of you just are as you are.· But you're

23· still working for me and being my advertisement.· So I don't

24· mind.· I'm not going to strike nobody can -- channel.· That's

25· something I used to do when I first started on YouTube.· I don't


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·1· care that much no more.· Enjoy it however way you decide to

·2· enjoy it.

·3· · · · · · Duane, thank you.

·4· · · · · · MR. YOUNGBLOOD:· Thank you.

·5· · · · · · MR. REID:· Thank you.· I want you to hear me say thank

·6· you because you're good at went anywhere else.· But you trusted

·7· this platform.· And it was a wise move because it was -- it was

·8· two/three hours.· There were -- they were calling trying to

·9· figure out what they can do to keep the rest of the parts from

10· happening.· But this is great ministry.

11· · · · · · MR. YOUNGBLOOD:· A lot more to do here.· A lot more.

12· · · · · · MR. REID:· Yeah.· All right.· Let me -- look at my

13· best friend trying to tell -- get me off there.· I don't -- I

14· don't understand.

15· · · · · · He said -- oh, he said -- he said I should strike, but

16· by -- I should.· But by -- oh, okay.· That's pointless.· I don't

17· know.· I want you all to continue to do it.· Continue to do it.

18· It's -- it's all right.· I -- I love it.· And I thank all love

19· you for doing it, even if you don't living like me.· I -- I

20· don't feel the same.

21· · · · · · All right.· See you later.· God bless.· And make sure

22· you play.· God don't play about me before you go to bed.

23· · · · · · MR. YOUNGBLOOD:· Yes.

24· · · · · · (End of recording.)

25


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·1· · · · · · · · · · ·CERTIFICATE OF TRANSCRIBER

·2

·3

·4· · · · I, Sarah Albaladejo, do hereby certify that I was

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·6· that the transcript is a true and accurate transcription, to the

·7· best of my ability, taken while listening to the provide

·8· recording.

·9

10· · · · · I FURTHER CERTIFY that I am not of counsel or attorney

11· for either or any of the parties to said proceedings, nor in any

12· way interested in the events of this cause, and that I am not

13· related to any of the parties thereto.

14

15

16· · · Dated this 17th day of December 2024.

17

18

19· · · · · · · · ___________________________

20· · · · · · · · Sarah Albaladejo

21

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